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                               Exhibit A-6
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     1             IN THE UNITED STATES DISTRICT COURT
     2             FOR THE SOUTHERN DISTRICT OF FLORIDA
     3                          MIAMI DIVISION
     4   _____________________________________
                                              )
     5   FARHAD AZIMA,                        )
                                              )
     6                       Petitioner,      )
                                              )
     7   vs.                                  ) Case No.:
                                              ) 1:22-MC-20707
     8   INSIGHT ANALYSIS AND RESEARCH LLC    )
         AND SDC-GADOT LLC,                   )
     9                                        )
                             Respondents.     )
    10   _____________________________________)
    11
    12
    13
    14               Videotaped 30(b)(6) Deposition of
    15               INSIGHT ANALYSIS AND RESEARCH LLC
    16         by and through its Corporate Representative
    17                           AMIT FORLIT
    18                    Thursday, July 21, 2022
    19                11:07 a.m. Israel Daylight Time
    20
    21
    22
    23
    24
    25   Reported by: BRENDA MATZOV, CSR NO. 9243

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     1               Videoconference 30(b)(6) deposition
     2   of INSIGHT ANALYSIS AND RESEARCH LLC, by and
     3   through its Corporate Representative, AMIT
     4   FORLIT, taken in the above-entitled cause
     5   pending in the United States District Court,
     6   for the Southern District of Florida, Miami
     7   Division, before BRENDA MATZOV, CSR NO. 9243,
     8   at the David Intercontinental Hotel, Tel Aviv,
     9   Israel, and simultaneously in the Zoom
    10   participants' remote locations, on Thursday,
    11   the 21st day of July, 2022, at 11:07 a.m.
    12   Israel Daylight Time.
    13
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     1   APPEARANCES:
     2   FOR PETITIONER:
     3               BARET LAW GROUP
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     5               Hollywood, Florida 33021
                     (954) 486-9966
     6               elan@baretlawgroup.com
     7
     8   FOR RESPONDENTS:
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    10                    IAN A. HERBERT, ESQ.
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     1   APPEARANCES (Continued):
     2   ALSO PRESENT (in Israel):
     3               MITCHELL COOPERSMITH, Videographer
     4               HAYA SHAVIT-KEDAR, Hebrew Interpreter
     5               RUCHIE AVITAL, Hebrew Interpreter
     6
     7   ALSO PRESENT (remotely via Zoom):
     8               LESLEY SEMONES, Miller & Chevalier
     9               FREDERICK WILMOT-SMITH, Burlingtons Legal
    10               LUKE HACKETT, Burlingtons Legal
    11               FARHAD AZIMA
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     1                             I N D E X
     2   WITNESS
     3   Amit Forlit
     4   (Witness Location: Tel Aviv, Israel)
     5
     6   EXAMINATION                                             PAGE
     7   By Mr. Behre                                                9
     8   By Mr. Baret                                              129
     9
    10                         E X H I B I T S
    11   NUMBER            DESCRIPTION                         MARKED
    12   Exhibit 1         Multiple Invoices from
                           SDC-Gadot LLC to Page
    13                     Group ME Ltd. and Page
                           Risk Management DMCC,
    14                     Multiple Dates
                           (Provided by Amit Forlit)
    15                     (No Bates Number)                        13
    16   Exhibit 2         Multiple Invoices from
                           Insight Analysis and
    17                     Research LLC to Page
                           Group ME Ltd., PGME,
    18                     and Page Risk Management
                           DMCC, Multiple Dates
    19                     (Provided by Amit Forlit)
                           (No Bates Number)                        15
    20
         Exhibit 3         Document Entitled
    21                     "Electronic Articles of
                           Organization for Florida
    22                     Limited Liability Company,"
                           for Insight Analysis and
    23                     Research LLC, Date Filed
                           October 18, 2017, and
    24                     Related Documents
                           (No Bates Number)                        52
    25

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     1                         E X H I B I T S
     2   NUMBER            DESCRIPTION                         MARKED
     3   Exhibit 4         Document Entitled
                           "Business Resolution or
     4                     Authorization for Opening
                           and Maintaining Banking
     5                     Relationship," Dated
                           October 30, 2017
     6                     (BANA_Azima000284 to 000288)             61
     7   Exhibit 5         Multiple Bank of America
                           Statements for Insight
     8                     Analysis and Research LLC,
                           Multiple Dates
     9                     (BANA_Azima000222 to 000283
                           and BANA_Azima000001 to 000182)          63
    10
         Exhibit 6         Document Entitled
    11                     "Project Beech - Financial
                           Investigation Report #1,"
    12                     Dated March 13, 2016
                           (No Bates Number)                       101
    13
         Exhibit 7         Multiple Invoices from
    14                     Insight Analysis and
                           Research LLC to Page
    15                     Group ME Ltd., PGME,
                           and Page Risk Management
    16                     DMCC, Multiple Dates
                           (No Bates Number)                       120
    17
    18
    19
    20            Q U E S T I O N S I N S T R U C T E D
    21                    N O T T O A N S W E R
    22                              (None.)
    23
    24
    25

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     1                    THURSDAY, JULY 21, 2022
     2                11:07 A.M. ISRAEL DAYLIGHT TIME
     3
     4               THE VIDEOGRAPHER: Today's date is
     5   July 21st, 2022. And the time on the video
     6   monitor is 11:07 a.m.
     7               This is the videotaped deposition
     8   of Amit Forlit, in the matter of Farhad
     9   Azima versus Insight Analysis and Research
    10   LLC and SDC-Gadot LLC, being heard in the
    11   United States District Court, Southern
    12   District of Florida, Case No. 1:22-MC-20707.
    13               The videotaped deposition is taking
    14   place in Tel Aviv, Israel, as well as parties
    15   are attending remotely.
    16               Would the counsel present -- present
    17   in Tel Aviv please voice-identify themselves
    18   and whom they represent.
    19               MR. BEHRE: Kirby Behre, on behalf
    20   of Mr. Azima.
    21               MR. BARET: Elan Baret, on behalf
    22   of Insight and Gadot SDC.
    23               MR. HERBERT: Ian Herbert, on
    24   behalf of Farhad Azima.
    25               MR. HOLDEN: Dominic Holden, on

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     1   behalf of Farhad Azima.
     2               THE VIDEOGRAPHER: Will the court
     3   reporter please affirm the interpreters and
     4   the witness.
     5
     6                        HAYA SHAVIT-KEDAR
     7                                and
     8                          RUCHIE AVITAL,
     9               the interpreters, were duly affirmed
    10               to translate from English to Hebrew
    11               and from Hebrew to English.
    12
    13               (The following proceedings were
    14         conducted through the interpreters,
    15         unless otherwise indicated, and
    16         excluding colloquy.)
    17
    18               THE COURT REPORTER: I will ask
    19   counsel to please stipulate that, in lieu
    20   of formally swearing in the witness, the
    21   reporter will instead ask the witness to
    22   acknowledge that their testimony will be
    23   true under the penalties of perjury, that
    24   counsel will not object to the admissibility
    25   of the transcript based on proceeding in

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   1    this way, and that the witness has verified
   2    that he is Amit Forlit.
   3                Counsel, do you agree?
   4                MR. BEHRE: Yes.
   5                MR. BARET: Agreed.
   6                THE COURT REPORTER: Mr. Forlit,
   7    do you hereby acknowledge that your testimony
   8    will be true under the penalties of perjury
   9    and do you affirm that the testimony you are
  10    about to give in this deposition will be the
  11    truth, the whole truth, and nothing but the
  12    truth?
  13                THE WITNESS: Yes.
  14
  15                           AMIT FORLIT,
  16                called as a witness, was examined
  17                and testified under penalty of
  18                perjury as hereinafter set forth.
  19
  20                            EXAMINATION
  21    BY MR. BEHRE:
  22          Q.    Good morning, Mr. Forlit.
  23          A.    Good morning.
  24          Q.    Would you please state your full
  25    name for the record?

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   1          A.    Amit Forlit.
   2          Q.    Have you ever used any other name
   3    besides Amit Forlit?
   4          A.    In my former years of service in
   5    the Israeli secret service, I had a nickname.
   6          Q.    And what was that nickname?
   7          A.    Omer.
   8                THE INTERPRETER: Omer?
   9                THE WITNESS: (In English.) Captain
  10    Omer.
  11                THE INTERPRETER: "Omer."
  12    BY MR. BEHRE:
  13          Q.    Could you spell that?
  14          A.    (In English.) O-m-e-r.
  15                (Translated.) O-m-e-r.
  16          Q.    And what does that stand for, if
  17    anything?
  18          A.    It's a nickname. No, just a nickname.
  19          Q.    Other than that nickname, have you
  20    ever used any other name, first and/or last?
  21          A.    No.
  22          Q.    You are here today as the corporate
  23    representative for Insight Analysis and
  24    Research LLC; correct?
  25          A.    Yes.

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   1          Q.   And that is a Florida corporation;
   2    correct?
   3          A.   Yes.
   4          Q.   Yesterday you testified on behalf
   5    of SDC-Gadot; correct?
   6          A.   Yes.
   7          Q.   (Partially translated.) And the
   8    "SDC" in that name refers to "safe data
   9    control"; correct?
  10               THE INTERPRETER: Say that again.
  11               THE COURT REPORTER: "Safe -- safe
  12    data" --
  13               THE WITNESS: (In English.) "Safe
  14    data" --
  15               THE COURT REPORTER: -- "control."
  16               THE WITNESS: (In English.)
  17    -- "control."
  18               (Remainder of pending question
  19          translated.)
  20               THE WITNESS: Apparently, yes.
  21    You just reminded me of it.
  22    BY MR. BEHRE:
  23          Q.   Now, since your testimony last
  24    night, other than with counsel, have you
  25    had any discussions about your testimony?

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   1          A.   I spoke with my -- members of
   2    my family about it.
   3          Q.   And by that, do you mean your
   4    wife?
   5          A.   Yes.
   6          Q.   Your son?
   7          A.   Also, yes.
   8          Q.   Anyone else?
   9          A.   Not that I recall. No.
  10          Q.   Did you talk with anyone about
  11    SDC-Gadot?
  12          A.   I spoke -- I spoke about the process.
  13    So I assume we may have mentioned SDC-Gadot.
  14    I spoke about my experience.
  15          Q.   And other than your family, did you
  16    talk to anybody else about SDC-Gadot?
  17          A.   Yes. I also spoke to Omri. I asked
  18    him to prepare for me the invoices.
  19          Q.   Okay. And those -- by "invoices,"
  20    you're talking about the SDC-Gadot invoices
  21    we discussed yesterday?
  22          A.   Yes.
  23          Q.   And did you bring those with you
  24    today?
  25          A.   Yes.

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   1          Q.   And how many invoices were you able
   2    to locate?
   3          A.   I'm counting. Eight.
   4               MR. BEHRE: Okay. And could we mark
   5    this as an exhibit, please.
   6               THE COURT REPORTER: He's got the
   7    stickers. I don't know what number you want.
   8               MR. HERBERT: Start at 1?
   9               MR. BEHRE: I guess it's 1. You
  10    want to put it on the document, not on the
  11    plastic.
  12               THE COURT REPORTER: It's okay.
  13    I'll put it --
  14               MR. HERBERT: No, I can --
  15               THE COURT REPORTER: Thanks.
  16               Might as well staple it too.
  17               MR. BEHRE: Let me just jot down
  18    what the dates are and the invoice number.
  19    You need to mark it, the number.
  20               MR. HERBERT: Oh, sorry.
  21               (Exhibit 1 marked.)
  22    BY MR. BEHRE:
  23          Q.   Now I'm showing you what we've
  24    marked as Exhibit No. 1.
  25               Those are the invoices you brought

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   1    today that you were able to locate overnight
   2    regarding SDC-Gadot; correct?
   3          A.   (Examining.) Yes.
   4          Q.   And who -- who located these for you?
   5          A.   My financial person, Omri.
   6          Q.   Omri Gur Lavie?
   7          A.   Yes.
   8               MR. BEHRE: Do you want the spelling
   9    of that?
  10               THE COURT REPORTER: I think we have
  11    it.
  12    BY MR. BEHRE:
  13          Q.   And are these all the invoices he
  14    was able to find?
  15          A.   These are all the invoices related
  16    to the Beech Project.
  17          Q.   For SDC-Gadot?
  18          A.   Yes.
  19          Q.   And you also, several times yesterday,
  20    indicated that you would look for additional
  21    documents.
  22               Were you able to locate any other
  23    documents overnight?
  24          A.   What do you mean?
  25          Q.   Were you able to locate any other

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   1    documents overnight?
   2          A.   The -- the invoices of Insight
   3    LLC [sic] in regards to the Beech Project.
   4          Q.   And did you bring those with you
   5    today?
   6          A.   Yes.
   7          Q.   And how many of those are there?
   8          A.   I'll count them. I think -- I
   9    believe 19. But I'll check. 18.
  10               MR. BEHRE: And can we mark that
  11    as Exhibit No. 2.
  12               (Exhibit 2 marked.)
  13    BY MR. BEHRE:
  14          Q.   I'm showing you what's been marked
  15    as Exhibit No. 2.
  16               Are these the invoices you were
  17    able to locate overnight regarding Insight?
  18          A.   (Examining.) Yes.
  19          Q.   Did you obtain those from Mr. Gur
  20    Lavie as well?
  21          A.   Yes.
  22          Q.   Other than the invoices, what else
  23    did you discuss with Mr. Gur Lavie overnight?
  24          A.   Only the issue of money transfers
  25    and the invoices.

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   1          Q.    And what did you discuss regarding
   2    money transfers?
   3          A.    I asked -- I requested him to
   4    provide all the invoices that pertain to
   5    Project Beech.
   6          Q.    Well, you referenced a discussion
   7    about money transfers.
   8                What did that concern?
   9          A.    The invoice is against a transfer
  10    of fund [sic]. That was what I meant.
  11          Q.    And did Mr. Gur Lavie confirm
  12    that, for each invoice, there was, in
  13    fact, a payment received?
  14          A.    I -- I don't think -- I don't
  15    believe that we discussed it that much
  16    in-depth. We discussed the invoices. And
  17    perhaps this former definition of mine of
  18    discussing bank transfers was not exactly
  19    accurate.
  20          Q.    Okay. Did you talk to Mr. Propis
  21    since your deposition yesterday?
  22          A.    No.
  23          Q.    What about Mr. Goldberger?
  24          A.    No.
  25          Q.    What about Stuart Page?

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   1           A.   No.
   2           Q.   And what about Neil Gerard?
   3           A.   No.
   4           Q.   What about David Hughes?
   5           A.   No.
   6           Q.   Anyone else that I haven't covered
   7    yet?
   8           A.   And I -- neither did I speak with
   9    the boss.
  10           Q.   In addition to the two sets of
  11    invoices, are there any other documents
  12    that you've located that you'd like to
  13    provide to us today?
  14           A.   At your request, I have located
  15    the dates of my visit to London in the
  16    beginning of 2020. Unfortunately, I don't
  17    have the dates of the trial in London. So
  18    I cannot confirm if I was there at the time
  19    of the trial.
  20           Q.   And did you bring those records
  21    with you?
  22           A.   I made myself a note.
  23                Would you like me to give you the
  24    dates?
  25           Q.   Yes, please.

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   1          A.   Between the 27th and the 30th of
   2    January and between the 17th of February
   3    to the 20th of February.
   4          Q.   And those are dates you were in
   5    London?
   6          A.   Yes.
   7          Q.   And were you with Stuart Page
   8    when you were in London on those two trips?
   9          A.   I do not remember clearly and
  10    specifically if we met. But I assume that
  11    we met. Because, generally, when I would
  12    come to London and he would be in London,
  13    we would meet.
  14          Q.   And do you recall if you met with
  15    anybody else regarding Project Beech during
  16    those two trips?
  17          A.   I don't remember.
  18          Q.   You're aware that a subpoena for
  19    documents was served on Insight, the Florida
  20    entity; correct?
  21          A.   I found out quite belatedly. But
  22    yes, I did find out eventually.
  23          Q.   And are you aware that no documents
  24    to date have been provided by you or your
  25    counsel regarding this company?

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   1          A.   I am aware that we opposed some
   2    of your requests in this regard. And we
   3    are still awaiting the final judgment
   4    regarding this issue.
   5          Q.   And did Insight -- did or does
   6    Insight file tax returns with the U.S.
   7    Government or a State Government?
   8          A.   Insight, just like SDC-Gadot,
   9    regularly and duly reports to the authorities.
  10          Q.   Which authorities?
  11          A.   We're employing an accountant who
  12    takes care of that. I assume that he's
  13    reporting to the authorities of Florida.
  14    But I don't know it for a fact.
  15          Q.   And what's the name of that
  16    accountant?
  17          A.   It's the -- the CPA firm Aminach.
  18               THE INTERPRETER: Aminach.
  19    BY MR. BEHRE:
  20          Q.   Could you spell that, please?
  21          A.   I can spell it in Hebrew.
  22               THE INTERPRETER: A-m-i-n-a-c-h.
  23    Aminach.
  24               THE WITNESS: It's one of the
  25    larger companies here in Israel -- firms.

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   1    BY MR. BEHRE:
   2          Q.    And do they have an office in
   3    Florida?
   4          A.    No. They have a license to --
   5    to perform accounting work in America.
   6    They have a department especially designed
   7    for that.
   8          Q.    Did Insight file tax returns
   9    at any point with U.S. State or Federal
  10    Government?
  11          A.    I don't know.
  12          Q.    Can you tell us what you've done
  13    to prepare for today's deposition as the
  14    corporate representative of Insight?
  15          A.    I reviewed all the payments that
  16    we received in regard to the Beech Project.
  17          Q.    And how were you able to determine
  18    and review all the payments that you received
  19    regarding Project Beech?
  20          A.    The preparation for the testimony
  21    on Insight was the same as I did for SDC-Gadot.
  22    I did not prepare anything special for today.
  23    And since our bank account with the Bank of
  24    America was closed, I assume that all these
  25    invoices were paid. And that is the source

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   1    of my information about all these payments.
   2          Q.   Have you reviewed bank records
   3    from the Bank of America regarding Insight?
   4          A.   No. Because, as I said, since our
   5    account has been closed, we have no access
   6    to the bank records.
   7          Q.   And you said "our account."
   8               Are you referring to you and
   9    Mr. Gur Lavie as the account holders?
  10          A.   Mr. Gur Lavie is merely a financial
  11    officer. So when I say "we," I refer to
  12    the company, Insight as a company, exclusively
  13    to myself.
  14          Q.   Did you speak with Mr. Gur Lavie
  15    in preparation for your testimony here
  16    today?
  17          A.   I -- I had spoken to him before
  18    my -- yesterday's testimony about Gadot.
  19    I spoke to him yesterday merely to ask
  20    him to prepare those invoices that I had
  21    promised you.
  22          Q.   Did you talk to him about Insight
  23    specifically since that's why you're here
  24    today to testify?
  25          A.   I see Omri almost on a daily basis.

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   1    Until the day before yesterday, we discussed
   2    quite a lot. We discussed these issues quite
   3    a lot. I discuss it with him also as a friend.
   4    But since yesterday, we -- basically we discussed
   5    only the -- the invoices that I requested from
   6    him. I have no recollection of any other
   7    discussions.
   8          Q.   Regardless of whether it was yesterday
   9    or the day before yesterday or even before
  10    that, did you talk to Mr. Gur Lavie to prepare
  11    for your testimony today?
  12          A.   I assume yes.
  13          Q.   And do you recall what you discussed
  14    with him to prepare for your testimony today?
  15          A.   Mainly I requested him to -- to
  16    re-produce the -- the invoices, if he could
  17    re-produce the invoices.
  18          Q.   Anything else other than about the
  19    invoice reproduction?
  20          A.   No.
  21          Q.   Did or does Insight conduct business
  22    in the United States?
  23          A.   No.
  24          Q.   And you -- I've asked you this. I
  25    wasn't sure of the answer.

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   1               Did or does Insight file tax returns
   2    in the U.S.?
   3          A.   Yes.
   4          Q.   And you say that Insight doesn't
   5    conduct business in the United States.
   6               What is the purpose of forming
   7    Insight, if not to conduct business in the
   8    U.S.?
   9          A.   The purpose of setting up Insight
  10    was a conduit or a pipeline to transfer
  11    funds in a more convenient manner, in view
  12    of the difficulties that we've had with
  13    money transfers prior to the setting up
  14    of the two companies SDC-Gadot and Insight.
  15               When -- when I mentioned that it
  16    was not conducting any business in the United
  17    States, I meant that it does not perform any
  18    work, any operations, any -- anything that
  19    could be termed as business other than merely
  20    money transfers.
  21          Q.   And are those -- yesterday, during
  22    your deposition for SDC-Gadot, you indicated
  23    that that company was set up primarily so
  24    that Stuart Page could pay you for Project
  25    Beech.

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   1               Is that the same purpose that
   2    Insight was set up as well?
   3          A.   Yes. But not only as pertaining
   4    to the Beech Project or as pertaining Stuart
   5    Page.
   6          Q.   And what else besides pertaining
   7    to the Beech Project or Stuart Page was --
   8    were these companies set up for?
   9               Sorry.
  10          A.   Stuart Page had other projects
  11    in addition to the project that we are
  12    calling Project Beech. And there were
  13    also other clients.
  14          Q.   Okay. Is Insight affiliated
  15    with Insight GSIA, a BVI company?
  16          A.   No.
  17          Q.   And you're involved in Insight
  18    GSIA; correct?
  19          A.   No.
  20          Q.   Do you own that company? Or have
  21    you ever owned it?
  22          A.   No.
  23          Q.   Who owns it?
  24          A.   A guy named Effi Lavie.
  25          Q.   And who is Effi Lavie?

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   1          A.   Another investigator who, to the
   2    best of my knowledge, has worked with Stuart
   3    Page.
   4          Q.   And, in fact, Effi Lavie was your
   5    business partner in Gadot EA going back to
   6    the 1990s; correct?
   7               MR. BARET: Excuse me. I would
   8    ask counsel to stick to the purpose of the
   9    deposition. This is not a deposition of
  10    Mr. Amit Forlit. And --
  11               MR. BEHRE: Oh, we're getting
  12    there.
  13               MR. BARET: -- I'm trying -- no.
  14               MR. BEHRE: We're getting there.
  15               MR. BARET: Okay.
  16               MR. BEHRE: I'll tie it up.
  17               MR. BARET: I'm trying -- I'm
  18    trying to not interfere.
  19               MR. BEHRE: Okay.
  20               MR. BARET: But --
  21               MR. BEHRE: I'll get there. It'll
  22    tie directly.
  23               MR. BARET: Yeah, but you -- you --
  24    you are deposing Amit Forlit as Amit Forlit,
  25    not Insight.

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   1                MR. BEHRE: No, I'm not.
   2                MR. BARET: You're asking him about --
   3                MR. BEHRE: No. Just wait.
   4                MR. BARET: -- companies --
   5                MR. BEHRE: Just -- just wait and
   6    see.
   7                Did he finish his answer?
   8                THE WITNESS: Effi Lavie has no
   9    connection whatsoever to Insight LLC. [sic]
  10    BY MR. BEHRE:
  11           Q.   Isn't it a fact that Effi Lavie
  12    was the financial controller of Insight?
  13           A.   Which Insight?
  14           Q.   In -- I don't know which Insight.
  15    You tell me.
  16           A.   Effi Lavie has no connection
  17    whatsoever to Insight LLC in the U.S.
  18           Q.   Does he have any involvement
  19    with any entity called Insight?
  20           A.   I assume yes, to the Insight
  21    registered in BVI.
  22           Q.   But not the one in the U.S.?
  23           A.   Correct.
  24           Q.   And you're sure of that?
  25           A.   Yes.

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   1           Q.   Now, you're aware that Insight
   2    LLC was discussed at Mr. Azima's trial;
   3    correct?
   4           A.   I don't know.
   5           Q.   Did -- have you read Stuart
   6    Page's testimony at the trial of --
   7    involving Farhad Azima?
   8           A.   I did not read the testimony.
   9    I heard about it from him.
  10           Q.   And did you hear that he testified
  11    that Insight was responsible for preparing
  12    written reports regarding Project Beech?
  13           A.   I don't recall that.
  14           Q.   Did Insight have a role in preparing
  15    invoices for the Project Beech project?
  16           A.   Insight U.S. had a role in preparing
  17    the invoices. And we charged through Insight
  18    U.S.
  19           Q.   And charged who for those reports?
  20           A.   We charged Stuart Page's company
  21    for work that we did on Project Beech.
  22           Q.   And when you say "we did on Project
  23    Beech," who is "we"?
  24           A.   My firm.
  25           Q.   And which firm is that?

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   1          A.   Gadot Information Services.
   2          Q.   And why is Gadot Information Services
   3    billing through a company known as Insight?
   4          A.   Because it was convenient for us
   5    to charge via a number of U.S. companies.
   6    And we split up the charge.
   7          Q.   And, in your view, is it a good
   8    business practice for one company to bill
   9    for the work of another company with a
  10    totally different named formed in a
  11    totally different country?
  12          A.   At the time it was.
  13          Q.   And why -- why was that a good
  14    business practice?
  15          A.   It was ultimately -- because,
  16    with Insight, when the bank did not have
  17    limitations on the transfer amounts,
  18    ultimately Insight was more active than
  19    Gadot LLC [sic].
  20               In other words, the reason why
  21    we opened up two companies turned out to
  22    be the right thing to do.
  23          Q.   Why did you create --
  24          A.   Or at least convenient to do.
  25          Q.   Why did you create, at the exact

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   1    same time, two U.S. entities when you only
   2    needed one?
   3          A.   Ultimately, we tried to open
   4    another bank account in Chase Manhattan.
   5    And that didn't go well. But what happened
   6    was we worked with Insight. And it was --
   7    turned out to be more active than the other
   8    company.
   9          Q.   So if I understand your testimony,
  10    the project updates were prepared by Gadot,
  11    the Israeli company. But that work was
  12    billed through a company called Insight
  13    that was created in the United States?
  14          A.   (Translated.) Insight and
  15    Gadot LL -- SDC.
  16               (In English.) SDC.
  17          Q.   And payment was made into the
  18    U.S. via wire for that work; correct?
  19          A.   In the United States. Yes.
  20               Yes, the money transferred to the
  21    U.S. company and, from there, transferred
  22    to Israel, to the Israeli company rather.
  23          Q.   And can you give us some explanation
  24    for why, upon receipt of the money in the
  25    U.S., it was then transferred, sometimes

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   1    immediately, over to Israel and the Gadot
   2    company in Israel?
   3          A.    The money was transferred based
   4    on financial considerations having to
   5    do with the -- with the case and other
   6    considerations.
   7          Q.    During your meetings in Cyprus,
   8    was Insight ever discussed?
   9          A.    Not that I can recall.
  10          Q.    And during those meetings, Stuart
  11    Page's testimony was rehearsed; correct?
  12          A.    In Cyprus? No.
  13          Q.    What about in Switzerland, was
  14    Stuart Page's testimony rehearsed there?
  15          A.    I don't know. Because, in most
  16    of the discussions that related to the
  17    trial, I wasn't present.
  18          Q.    (Partially translated.) Was
  19    a woman by the name of Liat Czerwonagora
  20    involved in preparation of the reports
  21    that were billed through Insight in the
  22    United States?
  23                THE INTERPRETER: Did I get
  24    that right? Czergora [sic]? Could you
  25    spell it?

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   1                MR. BEHRE: C-z -- oh, it's on
   2    the screen.
   3                THE INTERPRETER: Kind of. Yeah.
   4    C-z-e-r-w-o-n-a-g-o-r-a.
   5                (Pending question fully translated.)
   6                THE WITNESS: No. I don't think
   7    so.
   8    BY MR. BEHRE:
   9          Q.    (Partially translated.) Well,
  10    she -- she helped manage a hostel in London
  11    called Hayarkon 48 Hostel; is that correct?
  12                THE INTERPRETER: Could you repeat
  13    the name?
  14                THE WITNESS: (Comment in Hebrew.)
  15                (Remainder of pending question
  16          translated.)
  17                THE WITNESS: No. It's not correct.
  18    BY MR. BEHRE:
  19          Q.    Well, isn't it true that that hostel,
  20    Hayarkon 48 Hostel, was owned by Omri Gur Lavie?
  21          A.    Yes.
  22          Q.    And you made payments to that hostel
  23    several times from your accounts in the United
  24    States?
  25          A.    Correct. But that hostel is located

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   1    in Israel, not London.
   2          Q.    Okay. The payments were made to
   3    that hostel; correct?
   4          A.    "Kin."
   5                The company Hayarkon 48 is owned
   6    by Omri Gur Lavie.
   7          Q.    And those payments were, at least
   8    in part, payments for the role that Liat
   9    played in the preparation of the reports;
  10    correct?
  11          A.    No.
  12          Q.    Do you know Jean Goldi Horta?
  13          A.    Yes, I do.
  14          Q.    She was involved in the preparation
  15    of the reports that were paid through the
  16    U.S. entities; correct?
  17          A.    No.
  18          Q.    Didn't she hold a position with
  19    one of the U.S. entities as a risk analyst
  20    and data scientist?
  21          A.    To the best of my knowledge, no.
  22          Q.    Was she ever employed by Insight
  23    or Gadot?
  24          A.    No.
  25          Q.    Was she a freelance consultant

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   1    to any of those entities?
   2          A.   No.
   3          Q.   So it's your testimony she did
   4    no work for any of your entities?
   5          A.   None of the American companies.
   6    I think she worked for Dinka.
   7          Q.   And what is Dinka?
   8          A.   Dinka is a company owned by Rafi
   9    Pridan.
  10          Q.   And Dinka was paid through one
  11    or both of your U.S. entities; correct?
  12          A.   I don't recall. I'd have to
  13    review.
  14          Q.   Okay. We can do that.
  15               And she worked with Rafi Pridan;
  16    correct?
  17          A.   In my opinion, she worked with
  18    Rafi Pridan. But she did not work on
  19    Project Beech.
  20          Q.   And Pridan introduced Stuart
  21    Page to you; is that correct?
  22          A.   In 2007 or '8.
  23          Q.   And Stuart Page ultimately gave
  24    you work on Project Beech for which you
  25    were paid through your U.S. entities;

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   1    correct?
   2          A.   I received payment for Project
   3    Beech through the American companies.
   4          Q.   And you paid Rafi Pridan a
   5    10 percent commission on the work that
   6    Stuart gave you -- Stuart Page gave you;
   7    correct?
   8          A.   I paid him commission. But I
   9    don't recall the exact percentage.
  10          Q.   And those commissions were paid
  11    to him, at least in part, through the two
  12    U.S. entities; correct?
  13          A.   Correct.
  14          Q.   And Rafi Pridan has been twice
  15    charged for wiretapping offenses in Israel;
  16    correct?
  17          A.   From general knowledge, I have
  18    heard that too.
  19          Q.   And, in 1999, he was sentenced
  20    to four years imprisonment for that type
  21    of conduct involving an Israeli media
  22    mogul by the name of Ofer Nimrodi?
  23          A.   I didn't know him in 1999.
  24          Q.   Did you know him in 2011?
  25          A.   Yes.

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   1          Q.    And in that year, he was again
   2    sentenced for similar conduct against an
   3    individual by the name of Avigdor Lieberman.
   4          A.    Okay.
   5          Q.    Were you aware of that?
   6          A.    I guess I was.
   7          Q.    Rafi Pridan is a known hacker,
   8    isn't he?
   9          A.    Not to the best of my knowledge.
  10          Q.    Well, on two occasions, he was
  11    prosecuted and convicted and sentenced
  12    for hacking; right?
  13          A.    You said 1999 was wiretapping.
  14          Q.    Well, I'm asking you --
  15          A.    And, in 2011, I don't think the
  16    charge was hacking.
  17          Q.    What was the charge?
  18          A.    In 2011, I think it was something --
  19    fax collecting or something like that. I
  20    don't know. Something to do with Lieberman.
  21                MR. BEHRE: Facts, f-a-c-t-s,
  22    collecting?
  23                THE INTERPRETER: No. Fax, f-a-x.
  24    Facsimile machine.
  25                MR. BEHRE: Aah.

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   1               THE INTERPRETER: Facsimile machine.
   2               MR. BEHRE: That's very retro. Okay.
   3    BY MR. BEHRE:
   4          Q.   You know Alan Apelblat; right?
   5          A.   No.
   6          Q.   Wasn't he a senior intelligence
   7    and business analyst for one of your entities?
   8          A.   I don't remember. I had a lot of
   9    employees. Alan? Maybe.
  10               Alan didn't work in any of the
  11    American companies.
  12          Q.   Did he work on the project updates
  13    that were paid for through the American
  14    companies?
  15          A.   No, I'm not familiar with anything
  16    called "project update." And to the best
  17    of my knowledge, Alan did not work on
  18    Project Beech.
  19          Q.   Apologies.
  20               When I say "project update," I'm
  21    referring to the updates that were prepared
  22    by you and your company for Project Beech.
  23          A.   They weren't updates. There were
  24    reports of findings in the project known as
  25    Beech.

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   1          Q.   Okay. Are you familiar with
   2    Guerillmo Fremd, F-r-e-m-d.
   3          A.   I think he also worked for one
   4    of my companies, but nothing to do with
   5    Project Beech.
   6          Q.   Didn't he assist in the preparation
   7    of reports for Project Beech for which you
   8    received payment in the United States?
   9          A.   No.
  10          Q.   He had a title of senior
  11    intelligence and business analyst; correct?
  12          A.   I never gave anybody that title.
  13          Q.   Now, specifically with regard to
  14    Insight and its bank account at Bank of
  15    America, did it have a $50,000 wire limit
  16    like you had in SDC-Gadot?
  17          A.   No. I think there might have
  18    been a limit at 250,000. But I'm not sure.
  19          Q.   And the Insight Bank of America
  20    account was opened in 2017; correct?
  21          A.   Correct.
  22          Q.   And between 2017 and through
  23    2020, more than $10 million was deposited
  24    into that account; correct?
  25          A.   I have to assume that you are

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   1    right, because you have the bank statements
   2    and I don't.
   3          Q.   Does that sound about right?
   4          A.   Yes. That seems to make sense.
   5          Q.   (Partially translated.) And
   6    of that over $10 million, $7,488,310 was
   7    received from Stuart Page in those four
   8    years.
   9               Does that sound correct?
  10          A.   No.
  11               THE INTERPRETER: Could you --
  12               THE WITNESS: No.
  13               THE INTERPRETER: Four --
  14               THE WITNESS: Seven --
  15               (Pending question partially
  16          re-translated.)
  17               THE WITNESS: (In English.) Ten.
  18    It's not of seven.
  19               THE INTERPRETER: Could you repeat
  20    the number?
  21               MR. BEHRE: 7,488,310.
  22               THE WITNESS: (In English.) No
  23    cents.
  24               (Pending question re-translated.)
  25               THE WITNESS: Stuart Page paid for

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   1    a number of projects besides Project Beech.
   2    So yes, that sounds about right.
   3    BY MR. BEHRE:
   4          Q.   And yesterday we talked about the
   5    deposits into the U.S. account for SDC-Gadot.
   6    And those records indicated that you received
   7    about 2.7 million from Stuart Page into that
   8    account.
   9               Do you recall that testimony?
  10          A.   Yes.
  11          Q.   And so combining the two U.S.
  12    entities, during those four years -- 2017,
  13    2018, 2019, and 2020 -- you received over
  14    $10 million from Stuart Page into your
  15    U.S. accounts; correct?
  16          A.   That is correct. But only part
  17    of it -- and I'm not sure exactly which
  18    part -- I'd have to add it up -- came
  19    because of payment for Project Beech.
  20          Q.   So approximately what percentage
  21    would you estimate of that over $10 million
  22    was attributable to Project Beech?
  23          A.   I estimate about 50 percent.
  24          Q.   So over $5 million over four years;
  25    correct?

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   1          A.   Correct.
   2          Q.   And of that $5 million approximately,
   3    how much was paid out to your subcontractors
   4    or vendors that were working on Project
   5    Beech?
   6          A.   Most of the sum, in my opinion,
   7    was paid to Gadot Israel.
   8          Q.   How were your subcontractors or
   9    vendors paid?
  10          A.   They were paid by Gadot Israel.
  11    And a small number, I guess, I estimate,
  12    received payment from the American account.
  13          Q.   In addition to subcontractors or
  14    vendors, were there any other individuals
  15    or entities that worked on Project Beech
  16    at your direction for which you paid them?
  17          A.   I don't recall. It's possible.
  18          Q.   Has Insight ever had employees?
  19          A.   No.
  20          Q.   Now, you indicated yesterday
  21    that, in addition to subcontractors and
  22    vendors, at times you used sources to get
  23    information from certain targets that you
  24    were investigating.
  25               Do you recall that testimony?

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   1          A.   Yes.
   2          Q.   And how were those sources paid
   3    for the work they did on Project Beech?
   4          A.   Through the subcontractors.
   5          Q.   And who were those subcontractors?
   6          A.   Majdi Halabi was one of them.
   7          Q.   Who else?
   8          A.   I don't recall.
   9          Q.   And how was Halabi paid? Through
  10    what entity?
  11          A.   I don't recall. But I think we
  12    probably wired him money from an Israeli
  13    bank to his Israeli bank.
  14          Q.   So if I understand the money
  15    flow, Stuart Page would pay your entities
  16    for Project Beech through your two U.S.
  17    entities. And those two U.S. entities
  18    would send the money to your Israeli
  19    company Gadot, which would then pay
  20    Halabi?
  21               Do I have that correct?
  22          A.   Sounds right. I think Halabi
  23    also received direct payment from the
  24    legal firms of the client.
  25          Q.   And who were those legal firms?

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   1    Dechert?
   2          A.    You'd have to ask him. I don't
   3    know.
   4          Q.    (Not translated.) Stewarts
   5    Law? Do you recall that name?
   6          A.    I remember those two names,
   7    Stewarts Law and Dechert. But I don't
   8    know who commissioned his work and who
   9    paid him.
  10          Q.    You indicated earlier that,
  11    from the Insight Bank of America account
  12    for the U.S. entity Insight, monies were
  13    sent to Gadot Information Services in
  14    Israel; correct?
  15          A.    Money -- money was transferred
  16    from the American company to the Israeli
  17    company for work done on Project Beech.
  18          Q.    And would it surprise you to
  19    learn that the total amount transferred
  20    to the bank -- from the Bank of America
  21    account to Gadot Information Services
  22    during the four years I mentioned, 2017
  23    through 2020, was more than $6.5 million?
  24          A.    It would not surprise me.
  25          Q.    And you indicated that Mr. Halabi

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   1    found sources who provided information
   2    regarding Project Beech; correct?
   3          A.    Human sources. Yes.
   4          Q.    How many human sources did
   5    Mr. Halabi oversee regarding Mr. Azima?
   6                MR. BARET: That's not the
   7    question.
   8                THE INTERPRETER: (Comment in
   9    Hebrew.)
  10                THE WITNESS: (Comment in Hebrew.)
  11                (Pending question partially
  12          re-translated.)
  13                MR. BARET: Okay. Yeah. That's
  14    the question.
  15                THE WITNESS: Not -- not one.
  16    BY MR. BEHRE:
  17          Q.    Well, there were -- you indicated
  18    yesterday there were sources close to
  19    Mr. Azima that you and your team relied
  20    upon for information; correct?
  21          A.    Sources that were close to Khater
  22    Massaad.
  23          Q.    Well, didn't you prepare reports
  24    that were paid for through your U.S. entities
  25    that contained information obtained from

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   1    sources who befriended or were close to
   2    Mr. Azima?
   3          A.   I don't know if the sources were
   4    close to or befriended Mr. Azima. But we --
   5    we're talking about sources that were close
   6    to Khater Massaad. I remember that Stuart
   7    Page once handled a source that was close
   8    to Farhad Azima.
   9          Q.   And who was that source?
  10          A.   If I remember correctly, it was
  11    an attorney from London.
  12          Q.   Do you know the attorney's name?
  13          A.   I -- I don't -- I don't remember.
  14    But I think that he used the source to
  15    solve a problem that Farhad Azima had
  16    in Saudi Arabia.
  17          Q.   Did Mr. Halabi play any role
  18    in preparing the reports that were paid
  19    for through the U.S. entities?
  20          A.   I do not recall if he drafted
  21    the report. But based on information
  22    that he brought, some of it was included
  23    in the report. I'm not sure that he wrote
  24    or edited the report.
  25          Q.   And Mr. Halabi provided to you

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   1    and your team the information he obtained;
   2    correct?
   3          A.   Yes.
   4          Q.   And you incorporated that
   5    information into the reports; correct?
   6          A.   Yes.
   7          Q.   And those reports were then
   8    provided to Mr. Page; correct?
   9          A.   They were sent to him.
  10          Q.   And you recruited Mr. Halabi
  11    to become a witness in the U.K. trial;
  12    correct?
  13          A.   No.
  14          Q.   Who did? Who picked him to be
  15    a witness?
  16          A.   I stated yesterday that Mr. Halabi
  17    was part of the office and that he had heard
  18    about the leakage just like everybody else
  19    heard about it. And when we were requested
  20    to say who had reported it to Stuart, somebody
  21    proposed -- or he may have proposed it himself,
  22    thanks to his name, his background, and the
  23    fact that that would prevent embarrassment
  24    to the client. And that is how he was
  25    selected, or he selected himself.

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   1          Q.    What do you mean when you use
   2    the term "leakage"?
   3          A.    There was a leakage of materials
   4    pertaining to Farhad Azima, which was
   5    published on -- on the Internet.
   6          Q.    And by "leakage," are you talking
   7    about the data that was stolen from Farhad
   8    Azima?
   9          A.    So it seems.
  10          Q.    So "leakage" is a polite word for
  11    the stolen data from Farhad Azima; right?
  12          A.    We're all polite here, aren't we?
  13          Q.    Most of the time.
  14          A.    One of the best songs by Bob Dylan.
  15                MR. BARET: Can we take, like, a --
  16    five, ten minutes? I need --
  17                MR. BEHRE: Sure.
  18                THE VIDEOGRAPHER: Going off the
  19    record at 12:20.
  20                (Recess from 12:20 p.m. to 12:39 p.m.
  21          Israel Daylight Time.)
  22                THE VIDEOGRAPHER: Back on record
  23    at 12:39.
  24    BY MR. BEHRE:
  25          Q.    (Not translated.) Mr. Forlit,

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   1    did you communicate with anybody about
   2    your testimony other than your lawyer
   3    during the break?
   4          A.    (In English.) No.
   5                (Pending question translated.)
   6                THE WITNESS: No.
   7    BY MR. BEHRE:
   8          Q.    Who worked on the Project Beech
   9    reports that you and your team prepared?
  10          A.    On behalf of Gadot LLC [sic]
  11    and Insight, no one.
  12          Q.    Not with regard to those two
  13    entities.
  14                Anyone who worked on those
  15    reports that were paid for through the
  16    two U.S. entities.
  17          A.    No one was paid through the
  18    American entities.
  19          Q.    Stuart Page paid you, in part,
  20    for the work your -- you and your team
  21    did in preparing reports; correct?
  22          A.    The reports were prepared by
  23    Gadot Israel.
  24          Q.    Yes.
  25                And they were paid for through

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   1    your U.S. entities, including, you said,
   2    over $5 million from Stuart Page to your
   3    Insight U.S. account; right?
   4          A.    It -- Insight and Gadot both.
   5    And they paid Gadot Israel. And Gadot
   6    Israel paid.
   7          Q.    And Gadot -- Gadot Israel paid
   8    the individuals who prepared the reports;
   9    correct?
  10          A.    Correct. It paid salaries to
  11    people.
  12          Q.    And what are the names of the
  13    people who prepared those reports that
  14    were paid for [sic] the monies provided
  15    by Stuart Page via the U.S. entities?
  16          A.    To the best of my understanding --
  17    and I am responding here as the corporate
  18    representative of the two companies --
  19    Gadot Israel did not --
  20          Q.    Sorry.
  21          A.    -- Gadot Israel is the one who
  22    made the payments. And Gadot Israel is
  23    not being investigated here.
  24                MR. BEHRE: That wasn't my
  25    question.

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   1               Could you read my question
   2    back, please?
   3               THE COURT REPORTER: Let me
   4    read it, Haya, and then you re-interpret.
   5               (Last full question read and
   6          re-translated.)
   7               THE WITNESS: Since these people
   8    are employed and receive their payment from
   9    Gadot Israel, I am not prepared to divulge
  10    their names.
  11    BY MR. BEHRE:
  12          Q.   So you know their names. You're
  13    just not willing to provide them; right?
  14          A.   I'm not entirely sure who exactly
  15    prepared those reports. I know the names
  16    of employees who worked at the time in the
  17    company. But I cannot be exactly precise
  18    about who prepared the reports.
  19          Q.   What are the names of those
  20    employees?
  21          A.   I'm not prepared to tell.
  22          Q.   You're not willing to provide
  23    those names; right?
  24          A.   Yes. Correct.
  25               MR. BEHRE: Will counsel instruct

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   1    his client to answer?
   2               MR. BARET: (Not translated.) If
   3    you -- if you -- if you wish, you may answer.
   4               THE INTERPRETER: Sorry?
   5               (Comment in Hebrew.)
   6               MR. BARET: If you wish to answer,
   7    you can answer.
   8               THE WITNESS: I don't want to.
   9    BY MR. BEHRE:
  10          Q.   Why is it -- why is it such a
  11    secret, the names of the individuals who
  12    prepared these reports?
  13          A.   With some of them, I have NDA
  14    agreements. And others have a security
  15    clearance in their work in the reserve
  16    duty in the IDF.
  17          Q.   And part of the reason you're
  18    unwilling to provide those names is because
  19    the reports they worked on contain stolen
  20    data; correct?
  21          A.   This is not correct. In the --
  22    the reports to Mr. Page did not contain
  23    any stolen information to the best of our
  24    knowledge. Whatever Mr. Page added and
  25    transferred to the client, I don't know.

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   1    I did not see the reports sent by Mr. Stuart.
   2          Q.   So you seem to be suggesting that
   3    the -- if any report contains stolen data,
   4    it was put in there by Stuart Page and not
   5    you or your team.
   6               Is that what you're alleging?
   7          A.   I -- I -- what I claim is that
   8    I do not know. I did not see the reports
   9    that he transferred. So I cannot refer
  10    to whatever was in those reports.
  11          Q.   What subcontractors worked on
  12    the Project Beech reports?
  13          A.   I don't remember.
  14          Q.   You don't remember or you're not
  15    willing to name them?
  16          A.   I don't remember.
  17          Q.   Were any of the subcontractors
  18    based in India?
  19          A.   Definitely not.
  20          Q.   Were any of the employees who
  21    worked on the reports based in India?
  22          A.   Definitely not.
  23          Q.   (Not translated.) Have you
  24    ever worked with a company named CyberRoot?
  25               THE INTERPRETER: Cyber?

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   1                MR. BEHRE: Root.
   2                (Pending question translated.)
   3                THE WITNESS: Never.
   4    BY MR. BEHRE:
   5          Q.    Some of the project reports you
   6    prepared use the term "electronic sources."
   7                What does that mean?
   8          A.    Many -- many investigations
   9    within or on the web include chat rooms,
  10    collecting information from the dark
  11    net, contacts with some obscure sources
  12    that promise information. Overall, this
  13    is called an Internet investigation.
  14          Q.    Your reports use the term
  15    "electronic sources."
  16                What does that specific term
  17    mean?
  18          A.    I haven't seen a report of mine
  19    that is using that term of "electronic
  20    sources."
  21          Q.    Okay.
  22                (Exhibit 3 marked.)
  23    BY MR. BEHRE:
  24          Q.    I'm showing you what's been
  25    marked as deposition Exhibit No. 3.

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   1               It's a series of corporate
   2    records regarding Insight Analysis and
   3    Research LLC including the Articles of
   4    Organization for the State of Florida
   5    and annual reports for the company for
   6    2018, 2019, 2020, 2021, and 2022.
   7               Could you look at that exhibit
   8    and see if you can identify it?
   9          A.   (Examining.) Yes. I identify
  10    the documents.
  11          Q.   And were these documents filed
  12    at your direction?
  13          A.   I assume they were.
  14          Q.   And in the Article [sic] of
  15    Organization, which is the first two
  16    pages of the exhibit, it lists in
  17    Article IV an address for Alon Omri
  18    Gur Lavie.
  19          A.   "Kin."
  20          Q.   Do you see that?
  21          A.   (In English.) Yes.
  22               "Kin."
  23          Q.   And the address is 5 HaBarzel
  24    Street in Tel Aviv.
  25               Do you see that?

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   1          A.   Yes.
   2          Q.   And that's the same address that
   3    was used for you in the corporate records
   4    for SDC-Gadot; correct?
   5          A.   Yes. Correct.
   6          Q.   Who lives at that address?
   7          A.   These -- these were the corporate
   8    offices of Gadot in the past.
   9          Q.   Are they currently the corporate
  10    offices of Gadot?
  11          A.   Yes.
  12          Q.   And is that an office building?
  13          A.   Yes.
  14          Q.   How much office space do you have
  15    there?
  16          A.   About 140 square meters.
  17          Q.   How many individual offices are
  18    included in the office suite?
  19          A.   Four.
  20               THE INTERPRETER: "Four."
  21               THE WITNESS: Four and a
  22    conference room.
  23    BY MR. BEHRE:
  24          Q.   Who occupies the four offices?
  25          A.   No one today. This serves as

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   1    a storage for my own belongings.
   2          Q.    If you look at the first annual
   3    report --
   4                (Brief technical interruption
   5          in the proceedings.)
   6                THE WITNESS: (Comment in Hebrew.)
   7                MR. BARET: Strike that.
   8    BY MR. BEHRE:
   9          Q.    -- for 2018 -- so that's the third
  10    page of the exhibit -- it lists Mr. Gur Lavie
  11    on the signature line as being the CEO of
  12    Insight Analysis and Research LLC.
  13                Do you see that?
  14          A.    (Translated.) On page 3?
  15                (In English.) Gur Lavie. Gur
  16    Lavie. "Signature." "Date."
  17          Q.    It's the annual report for April --
  18    filed on April 29th, 2018.
  19          A.    (Comment in Hebrew.)
  20                (Translated.) Aah, yes.
  21          Q.    Is that accurate?
  22                Was Mr. Gur Lavie the CEO?
  23          A.    Since these companies were not
  24    serving basically any other purpose than
  25    being a conduit for transfer of funds, we

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   1    were not very particular about the choice
   2    of -- the choice of titles. But for all
   3    intents and purposes, it was me who was
   4    running the company.
   5          Q.    So then this particular annual
   6    report is not accurate; correct?
   7                Mr. Gur Lavie is not the CEO?
   8          A.    It could be that he was a
   9    co-managing director.
  10          Q.    But not --
  11                THE INTERPRETER: Or "co" --
  12    BY MR. BEHRE:
  13          Q.    -- CEO?
  14                THE INTERPRETER: -- "CEO."
  15    "Co-CEO."
  16    BY MR. BEHRE:
  17          Q.    Co-CEO with who else?
  18          A.    With me.
  19          Q.    How were the revenues and
  20    profits of Insight Analysis and Research
  21    LLC shared between you and Mr. Gur Lavie?
  22          A.    To the best of my recollection,
  23    there were no revenues or profits as such
  24    in -- that we left in -- in the company.
  25    So Mr. Gur Lavie was receiving a salary,

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   1    which was paid to him sometimes directly
   2    from Insight to companies belonging to
   3    him and sometimes in other -- other avenues
   4    or other ways. But I don't remember the
   5    details.
   6               MR. BEHRE: Can I see that?
   7               THE COURT REPORTER: Yeah, I
   8    was just writing to Adi about that.
   9               (Brief construction interruption
  10           in the proceedings.)
  11               MR. BEHRE: It's getting closer
  12    and closer.
  13               THE COURT REPORTER: I wrote to
  14    her.
  15               MR. BEHRE: It's like a horror
  16    flick.
  17               MR. BARET: Hopefully they're
  18    not going to fall through like in --
  19               THE INTERPRETER: Chainsaw --
  20               THE COURT REPORTER: You want
  21    to --
  22               MR. BEHRE: I know.
  23               THE COURT REPORTER: You want to
  24    go off for --
  25               THE INTERPRETER: Chainsaw massacre.

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   1                THE COURT REPORTER: Ruchie, we're
   2    on the video.
   3                Go off for a second.
   4                MR. BEHRE: Why don't we take
   5    a --
   6                THE VIDEOGRAPHER: Going off --
   7                MR. BEHRE: -- brief break.
   8                THE VIDEOGRAPHER: -- record at --
   9    12:59.
  10                (Recess from 12:59 p.m. to 1:04 p.m.
  11           Israel Daylight Time.)
  12                THE VIDEOGRAPHER: Back on record
  13    at 1:04.
  14    BY MR. BEHRE:
  15           Q.   (Partially translated.) You said
  16    before the break that Mr. Gur Lavie received
  17    a salary and that he was paid either directly
  18    from Insight U.S. to him or his companies;
  19    correct?
  20                THE INTERPRETER: You said Halavi?
  21                MR. BEHRE: Gur Lavie.
  22                THE COURT REPORTER: Gur Lavie.
  23                THE WITNESS: Gur Lavie.
  24                THE INTERPRETER: Gur Lavie.
  25    //

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   1               (Remainder of pending question
   2          translated.)
   3               THE WITNESS: He received his
   4    salary directly to companies of his, not
   5    to him personally.
   6    BY MR. BEHRE:
   7          Q.   And what were the companies of
   8    his that received his salary?
   9          A.   I believe it was Hayarkon 48
  10    and Yessodot.
  11               THE INTERPRETER: Y-e, double
  12    s, o-d-o-t.
  13    BY MR. BEHRE:
  14          Q.   And how much was his salary?
  15          A.   His salary was $20,000 a month.
  16    I do not recall the exact and precise
  17    accounting, you know, which money came
  18    from what source.
  19          Q.   And what did he do for Insight
  20    Analysis and Research in order to receive
  21    that level of salary?
  22          A.   Omri's role is to manage all the
  23    finances of all my companies. And, once
  24    again, I do not remember precisely what
  25    came from where. But he was not working

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   1    only for Insight. He was working for all
   2    of my -- the -- all the companies connected
   3    to me.
   4          Q.   And how many companies are there
   5    connected to you?
   6          A.   I believe that, in Israel, there
   7    are two of them and the two American companies.
   8          Q.   Gadot Information [sic] in Israel.
   9               And what's the other Israeli company?
  10          A.   I have another company, whose name
  11    I don't even remember, that is engaged in
  12    real estate, also Gadot with something.
  13          Q.   So Mr. Gur Lavie, as it relates
  14    to Insight Analysis and Research, was a
  15    salaried employee; correct?
  16          A.   No. He received a salary into
  17    a company in Israel. But he ran all the
  18    financial affairs that are connected to
  19    me. He did not receive a salary per se
  20    from the companies in United States. He
  21    received transfers to companies of his
  22    in Israel.
  23          Q.   Well, just a few minutes ago
  24    you referred to it as a salary.
  25               Are you changing your testimony

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   1    now?
   2           A.   Let's be more precise. What
   3    I was talking about is wages. Perhaps
   4    the term "salary" is not exactly accurate.
   5    These are wages in the tune of $20,000
   6    that he received for the management of
   7    all my financial affairs.
   8           Q.   So he received wages and he
   9    was not an owner, was he?
  10           A.   Correct.
  11           Q.   And so looking at the annual
  12    report that was filed on January 21st
  13    2019, that is inaccurate in describing
  14    Mr. Gur Lavie as an owner, isn't it?
  15           A.   I believe these reports were
  16    submitted by an accountant --
  17                THE INTERPRETER: Okay.
  18                THE WITNESS: -- an accountant
  19    firm. And the questions should be asked to
  20    them, why did they change their terminology
  21    from one annual report to the next.
  22                (Exhibit 4 marked.)
  23    BY MR. BEHRE:
  24           Q.   I'm showing you next what's been
  25    marked as Exhibit No. 4 for this deposition.

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   1    It's a five-page document that appears to
   2    be opening documents for the Bank of America
   3    account for Insight Analysis and Research.
   4          A.   (Examining.) Okay. Go ahead.
   5          Q.   Is that what this is, the bank
   6    opening documents for this account at Bank
   7    of America for Insight Analysis and Research?
   8          A.   It would seem so.
   9          Q.   And there's only one individual
  10    who's authorized to transact business in
  11    this account; correct?
  12          A.   Correct.
  13          Q.   And that individual is Mr. Gur
  14    Lavie and not you; correct?
  15          A.   Correct.
  16          Q.   And were you present with
  17    Mr. Gur Lavie when he opened this account?
  18          A.   Yes.
  19          Q.   And was this opened in Florida
  20    or New York or somewhere else?
  21          A.   In Miami, Florida.
  22          Q.   So you were present but you weren't
  23    put on the account.
  24               Why not?
  25          A.   At the same time, we opened the

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   1    account for the other company at Citibank.
   2    And we decided, for convenience purposes,
   3    to open two accounts, one for each of the
   4    companies and have one of us in each one
   5    of them.
   6          Q.   Were those two bank accounts,
   7    the one at Citi for Gadot and the one
   8    at Bank of America for Insight, opened
   9    on the same day?
  10          A.   To the best of my recollection,
  11    yes. Or the next day.
  12          Q.   And is there some reason why one
  13    of the accounts is in your name and one of
  14    the accounts is in his name?
  15          A.   No.
  16               (Exhibit 5 marked.)
  17    BY MR. BEHRE:
  18          Q.   I'm showing you next what we'll
  19    mark as Exhibit No. 5 in this deposition.
  20               These are Bank of America bank
  21    statements for Insight Analysis and Research.
  22    And they bear Bates numbers, so numbers at
  23    the bottom of the pages. They start at
  24    000222 and they run through 000 -- no, I
  25    take that back. They're not subsequently

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   1    numbered, at least my copy isn't.
   2               So what I'll tell you is that
   3    these are bank records that move -- that
   4    are from October 30th, 2017, through the
   5    bank statement for October 1st, 2021.
   6               And the bank -- bank statements,
   7    starting with the December 1st, 2018,
   8    statement is numbered five zeros, 1 --
   9    is it six zeros? -- 000001. And they
  10    run through 000283 [sic]. They're just
  11    not in order because they were produced
  12    on two separate occasions by the Bank of
  13    America.
  14          A.   (Examining.)
  15          Q.   Have you had a chance to look
  16    at those bank records?
  17          A.   No. Because I didn't have an
  18    opportunity -- I didn't have access to
  19    the --
  20          Q.   Okay.
  21          A.   -- bank --
  22          Q.   Well --
  23          A.   -- account.
  24          Q.   -- take a minute to make --
  25          A.   But I --

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   1          Q.   -- yourself --
   2          A.   -- thank you.
   3          Q.   -- familiar with them.
   4          A.   It's about 500 pages, isn't it?
   5               I think you'll probably refer
   6    me to a specific page?
   7          Q.   I want to first see if you can
   8    identify what these are.
   9          A.   Yes, these look like the bank
  10    statements.
  11          Q.   (Not translated.) Directing
  12    your attention to the bank statement for
  13    the month of December 2017, could you
  14    look at that? It's just a few pages in,
  15    six, seven pages in.
  16          A.   (Comment in Hebrew.)
  17               THE INTERPRETER: (Comment in
  18    Hebrew.)
  19               THE WITNESS: Okay.
  20    BY MR. BEHRE:
  21          Q.   And if you look at Bates page
  22    230 --
  23          A.   Yes.
  24          Q.   -- you'll see that the bank
  25    statement is addressed to Insight Analysis

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   1    and Research in Miami, Florida; correct?
   2          A.    Correct.
   3          Q.    And on the first page, it indicates
   4    that there were deposits in the amount of
   5    $459,950.
   6                Do you see that?
   7          A.    Yes.
   8          Q.    And there were withdrawals of
   9    $430,092.70?
  10          A.    Yes.
  11          Q.    And looking at page 232, you'll --
  12    you will see that Page Group deposited
  13    $280,000 minus the wire transfer fee of
  14    apparently $50.
  15                Do you see that?
  16          A.    Yes. And I -- I believe that,
  17    if it was -- this was for part of Project
  18    Beech, then he also received the invoice.
  19          Q.    Directing your attention to the
  20    time entry -- or the transaction entry on
  21    December 26, 2017, it indicates that there
  22    was a $200,000 wire payment made from this
  23    account to Global Impact Services.
  24                Do you see that?
  25          A.    Yes.

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   1          Q.   And Global Impact Services is
   2    owned by Eitan Arusy; is that correct?
   3          A.   Correct.
   4          Q.   And could you spell that for us?
   5          A.   In Hebrew?
   6          Q.   Yes.
   7               MR. BEHRE: And then you can
   8    translate it.
   9               THE WITNESS: I think he spells
  10    Eitan, E-i-t-a -- E-i-t-a -- t-h-a-n?
  11    T-h-a-n.
  12               THE INTERPRETER: Arusy?
  13               MR. BARET: Very similar to
  14    English spelling; right?
  15               THE WITNESS: (In English.)
  16    A-r-u-s-i.
  17               (Translated.) A-r-u-s-i,
  18    question mark.
  19    BY MR. BEHRE:
  20          Q.   And Mr. Arusy is your business
  21    partner; correct?
  22          A.   He's not a business partner. We
  23    collaborate on certain jobs.
  24          Q.   And you have or had an agreement
  25    with him that, for each payment you received

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   1    from Stuart Page, he received a percentage
   2    of that payment; right?
   3          A.   I don't recall. But he was paid
   4    for work that he did, that he supplied.
   5          Q.   What work did he do?
   6          A.   He did a variety of different
   7    works, including analysis and investigations,
   8    in-depth investigations.
   9          Q.   What do you mean by "analysis"?
  10          A.   Eitan is a very gifted person. And
  11    he once worked for the Manhattan prosecutor.
  12    And he's -- has analytic skills.
  13          Q.   And at one point, he was working
  14    on investigating individuals and entities
  15    that were violating sanctions against doing
  16    business with Iran; correct?
  17          A.   Eitan doesn't work only with me.
  18    And he had some large U.S. companies as his
  19    clients that were involved in investigating
  20    sanctions -- or violations, rather, of the
  21    sanctions. And I think he had a large case
  22    that he worked on for the D.A. in Manhattan.
  23          Q.   And the company Global Impact
  24    Services is a company established in the
  25    United States; correct?

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   1          A.    I think so.
   2          Q.    And Mr. Arusy is currently or
   3    was affiliated in some capacity with a
   4    U.S. law firm; right?
   5          A.    I don't know. I know that he
   6    worked for the D.A. He was hired by the
   7    D.A. in Manhattan.
   8          Q.    And Mr. Arusy attended some of
   9    the Project Beech meetings, didn't he?
  10          A.    I think so. Yes.
  11          Q.    And he attended at least one
  12    meeting in Cyprus; correct?
  13          A.    I don't recall.
  14          Q.    Did he ever attend any meetings
  15    with you?
  16          A.    It did happen. Yes.
  17          Q.    Do you recall where those meetings
  18    occurred?
  19          A.    I assume in London. But I don't
  20    recall exactly.
  21          Q.    Did he attend at your invitation
  22    or the invitation of someone else?
  23          A.    I -- I honestly don't remember.
  24          Q.    Did you ever attend a meeting in
  25    New York with him regarding Project Beech?

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   1          A.   I don't recall a meeting of that
   2    nature. But I do recall a meeting I had
   3    alone in New York about Project Beech.
   4          Q.   And who was that meeting with?
   5          A.   With Jamie Buchanan.
   6          Q.   Do you remember when that was?
   7          A.   I think late 2018.
   8          Q.   And who else attended besides you
   9    and Mr. Buchanan?
  10          A.   At that specific meeting, just
  11    the two of us.
  12          Q.   And what was the purpose of the
  13    meeting?
  14          A.   So Stuart Page got a request from
  15    two people. One of them was a very close
  16    friend of his. His name was Alex Ibragimov.
  17    And the second person's name was Dmitry.
  18    But, once again, this is what I heard
  19    from Stuart.
  20               The meeting was held in London.
  21    And Stuart told me that, at that meeting,
  22    he was threatened and told to implicate or
  23    frame Neil and Gerard in improper actions
  24    in managing the file.
  25               He was so disturbed by the meeting

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   1    that he asked me to meet with Jaime urgently
   2    and tell him about the content of the meeting.
   3    I spoke to Jaime. We had arranged to meet
   4    in his room -- I believe it was the -- the
   5    Park Hyatt in Manhattan. And I told him
   6    what Stuart had requested.
   7               To the best of my recollection,
   8    this is one of the very few meetings in
   9    which I had met Jaime without Stuart.
  10               Later on, at the request of Jaime
  11    and Neil, we met all four of us in London.
  12    And then Jaime and Neil asked Stuart to
  13    report this meeting to the FBI.
  14          Q.   Jamie Buchanan lives in London;
  15    right?
  16          A.   To the best of my recollection,
  17    at the time, he was distributing his time
  18    between Dubai, London, and Canada.
  19          Q.   What year was this?
  20          A.   I believe this was at the end
  21    of 2018.
  22          Q.   And at the time, you lived in
  23    Israel; right?
  24          A.   Correct.
  25          Q.   So why does somebody who lives

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   1    at least part time in London and somebody
   2    who lives in Israel fly all the way to
   3    New York to meet?
   4           A.   Jaime was on the move constantly.
   5    And Stuart was so disturbed by the -- by
   6    the meeting that he had asked me to meet
   7    Jaime as fast as possible, at the earliest.
   8    And at that time, Jaime was in New York.
   9    So I took a flight to New York to meet
  10    him.
  11           Q.   And then, later on, there was
  12    a meeting in London.
  13                What happened at that meeting
  14    where, if I understand it, you, Jaime,
  15    Neil, and Stuart met?
  16           A.   I believe that the meeting took
  17    place in a club called George that Jaime
  18    was a member of. Here too, at the request
  19    of Stuart, we performed a security check
  20    to make sure that none was being followed.
  21                And I remember, at the meeting,
  22    that Stuart told Jaime and Neil how the
  23    conversation with Dmitry and Alex had gone.
  24    I think that, by the time the meeting was
  25    held, Alex spoke once again with Stuart

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   1    or with his son perhaps. And what was
   2    discussed at that meeting was whether
   3    or not Stuart would agree to report his
   4    meeting to the authorities.
   5               And in my opinion, his trip to
   6    the United States to meet FBI agents --
   7    and I wasn't there, I had nothing to do
   8    with that -- was for that purpose.
   9          Q.   (Partially translated.) And
  10    when you say his trip to meet the FBI,
  11    who is -- who is "his"?
  12          A.   Stuart Page.
  13          Q.   And so when you met with Jamie
  14    Buchanan in New York and you met with the
  15    three others in London, in both instances
  16    you were paid for that work; right?
  17          A.   This is funny. Stuart promised
  18    that he would take care of the costs, in
  19    the context of special expenses, that were
  20    beyond the scope of my work. And I know
  21    that he got more than he was budgeted to
  22    get. But he never paid me for it. So
  23    one could say that this trip was voluntary.
  24          Q.   Or at least unpaid?
  25               MR. BARET: Pro bono.

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   1                THE COURT REPORTER: What?
   2                MR. BARET: Pro bono. Not --
   3    not volunteer.
   4                THE WITNESS: (In English.)
   5    Pro bono.
   6                MR. BARET: Just not -- not --
   7    not paid.
   8                THE INTERPRETER: Pro bono.
   9    BY MR. BEHRE:
  10          Q.    Do you own any part of Global
  11    Impact Services?
  12          A.    No.
  13          Q.    With regard to Eitan Arusy, did
  14    he work with Stuart Page?
  15          A.    It's possible.
  16          Q.    Did he ever meet with Stuart Page
  17    to the best of your knowledge?
  18          A.    Yes.
  19          Q.    Was that always on Project Beech
  20    or some other project?
  21          A.    Not just Project Beech.
  22          Q.    Okay. To the best of your knowledge,
  23    did Eitan Arusy ever meet with Neil Gerard?
  24          A.    Yes.
  25          Q.    About how many times?

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   1          A.   I can estimate five to ten times.
   2    But I don't have that information.
   3          Q.   And it appeared, didn't it, that
   4    Gerard believed that Arusy was an intelligent
   5    person?
   6          A.   I don't know what he believed or
   7    didn't believe.
   8          Q.   Well, Gerard asked, on occasion,
   9    Arusy his opinion on certain aspects of
  10    the investigation; correct?
  11          A.   Correct.
  12          Q.   And Arusy advised Gerard on the
  13    investigation; correct?
  14          A.   (Translated.) When we had staff
  15    meetings, everybody, including me, would
  16    raise ideas. And various subjects were
  17    discussed. That was the nature of the
  18    meetings. Eitan was not the chief consultant
  19    to Neil about Project Beech. I don't think
  20    that Neil ever met with Stuart --
  21               (In English.) -- ever met with --
  22               MR. BARET: Eitan.
  23               THE WITNESS: (In English.)
  24    -- either Eitan or --
  25               (Translated.) -- either Eitan --

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   1               (In English.) -- or me without
   2    Stuart.
   3               (Translated.) -- or me without
   4    Stuart.
   5    BY MR. BEHRE:
   6          Q.   When you say "staff meetings,"
   7    what do you mean?
   8          A.   There was Jaime. There was
   9    Stuart. Sometimes Eitan. Me. And Neil.
  10          Q.   Did Amir Handjani ever attend
  11    any of those meetings?
  12          A.   I personally never met Amir
  13    Handjani. If he was at meetings that
  14    I didn't attend, I don't know.
  15          Q.   Do you have any knowledge of
  16    what role Mr. Handjani played in Project
  17    Beech?
  18          A.   I only know that, towards the
  19    end of the project, that certain people
  20    threatened Stuart on behalf of the client.
  21    Not exactly threatened. They cautioned
  22    him to stop trying to make contact with
  23    the boss. So he turned, among others,
  24    to Amir Handjani. And I know that he
  25    was always considered a close consultant

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   1    of the boss.
   2          Q.   So the boss turned to Handjani
   3    to threaten Page not to do what towards
   4    the end of the project?
   5          A.   Towards the end of the project,
   6    Stuart tried to get a meeting with the
   7    boss. And he went through all kinds of
   8    acquaintances of his to get to the boss.
   9    One of those acquaintances was Amir.
  10               And I know that at one time
  11    he even got a letter from RAK's attorneys.
  12    And that's the first time I encountered
  13    that term "cease and desist." And they
  14    simply said to him: Stop trying to make
  15    contact.
  16          Q.   Why was Stuart trying to make
  17    contact with the boss, that is, the ruler?
  18          A.   To the best of my understanding --
  19    and this is based completely on hearsay --
  20    he thought he had a bonus coming to him
  21    at the end of this case.
  22          Q.   And how much of a bonus did he
  23    think he had coming to him?
  24          A.   Something about $2 million.
  25          Q.   And was any of that bonus

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   1    supposed to go to you?
   2          A.   The oral agreement we had was
   3    that, for all the work that we did, he
   4    would -- 70 percent of what he charged
   5    for our work, which wasn't the entire
   6    amount, 30 percent would be his commission.
   7    We were also supposed to get part of the
   8    bonus.
   9               Today I know that, in his dismissal
  10    letter, he did receive a certain sum. I
  11    don't know how much to this day. And he
  12    denies -- up to the point that I last spoke
  13    to him, he denied ever receiving that. And
  14    I was supposed to receive part of that amount
  15    too. But I didn't.
  16          Q.   Who wrote the cease and desist
  17    letter to Stuart Page, if you know?
  18          A.   I think the attorneys that are
  19    representing Rakia in England.
  20          Q.   Stewarts Law?
  21          A.   I don't know. I think they
  22    switched attorneys at some point. But
  23    I don't know. There was an attorney, I
  24    think, named Louise. But I'm not sure.
  25          Q.   And you mentioned a dismissal

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   1    letter.
   2               What -- did you ever see that?
   3          A.   I don't remember if he just told
   4    me about it or actually sent me a copy of
   5    it.
   6               And I -- I remember he was very
   7    offended. And it was presented as if this
   8    was a termination of his employment and
   9    that he would be paid a compensation of
  10    one and a half million dirham, which is
  11    about $400,000.
  12               And he talked to me, asked my
  13    advice about how -- how to respond to that.
  14    And he responded by saying that he had --
  15    he had never had a contract with the --
  16    but rather an oral agreement with the
  17    boss. And he asked for four and a half
  18    million dirham.
  19               THE INTERPRETER: I'd like to
  20    correct something I said earlier. I said --
  21    I said "termination of employment." It
  22    should have been "termination of a contract."
  23    BY MR. BEHRE:
  24          Q.   And what year and month was this
  25    occurring in, if you recall?

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   1          A.   I think about two or three months
   2    after he testified at the trial.
   3          Q.   And the bonus was because the
   4    Rakia case had gone well in Rakia's view;
   5    right?
   6          A.   I can't say. I can't say. That's --
   7    Stuart thought it went well. And he wanted
   8    the bonus. And I think he -- he asks for
   9    a bonus from every -- his clients when he
  10    stops working with them.
  11          Q.   And one last thing, and we'll
  12    take a break.
  13               You indicated a few moments ago
  14    that there was a 70/30 split. And I want
  15    to make sure I understand it correctly.
  16               That every payment Stuart Page
  17    received, you got 70 percent of it and he
  18    kept 30?
  19          A.   No. Stuart Page presented that,
  20    for our work on the case, he would charge
  21    an amount of money that varied over time.
  22    Besides our work, he charged for other jobs
  23    large amounts of money, which I don't know
  24    how much. I even know that he once charged
  25    $2 million for a job and he had to give it

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   1    back because he was unable to perform it.
   2               And from the amounts that he
   3    claimed to have charged, where the division
   4    was 70/30, but I never knew if what he was
   5    saying was actually true.
   6          Q.   So who got the 70 percent and who
   7    got the 30 percent?
   8          A.   My companies were supposed to get
   9    70. And he was supposed to get 30.
  10          Q.   And that's because you were doing
  11    most of the work; right?
  12          A.   I'm -- I'm relating to the work
  13    I did. He didn't do anything. For what
  14    he did, he charged different sums.
  15          Q.   So you -- you did all the work,
  16    but he got 30 percent of the money?
  17          A.   I was one of the contractors
  18    who worked on the case. If he paid me
  19    about $5 million, as we had arranged on
  20    this case, in my opinion, he charged more
  21    than double.
  22          Q.   Uh-huh. Okay.
  23               MR. BEHRE: Why don't we take
  24    our break.
  25               THE VIDEOGRAPHER: Going off

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   1    the record at 1:52.
   2               (Recess from 1:52 p.m. to 3:08 p.m.
   3          Israel Daylight Time.)
   4               THE VIDEOGRAPHER: Going back on
   5    record at 3:08.
   6    BY MR. BEHRE:
   7          Q.   Before the lunch break, we were
   8    looking at Exhibit No. 5, which are the
   9    bank records from the Bank of America for
  10    Insight Analysis and Research.
  11               Could you pull up that exhibit
  12    again?
  13          A.   I have it.
  14          Q.   I'm going to ask you questions
  15    about names that appear in these bank
  16    records. And I can give you a page number
  17    or not. But let's just kind of go one at
  18    a time and see if you recognize the name.
  19               Who -- who is Gordon Glaze?
  20          A.   (In English.) Gordon Glaze "ve"
  21    Ezekiel Golan are the same people. The same --
  22    it's the same guy.
  23               (Translated.) Gordon Glaze "ve"
  24    Ezekiel Golan are one and the same person.
  25               THE COURT REPORTER: What was the

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   1    name?
   2               MR. BEHRE: Ezekiel.
   3               THE INTERPRETER: Golan Glaze [sic]
   4    and Ezekiel Golan, one --
   5               THE WITNESS: (In English.) No.
   6               THE INTERPRETER: -- and the same.
   7               THE WITNESS: Gordon Glaze and
   8    Ezekiel Golan.
   9               THE INTERPRETER: "Gordon Glaze
  10    and Ezekiel Golan."
  11               THE WITNESS: We mentioned him
  12    yesterday.
  13    BY MR. BEHRE:
  14          Q.   They're both companies [sic]
  15    owned by whom?
  16          A.   It's one and the same person.
  17    He holds both a Canadian passport and an
  18    Israeli passport.
  19          Q.   Those are two names for the same
  20    person?
  21          A.   Yes.
  22          Q.   And is there any particular reason
  23    he has two names?
  24          A.   I don't know.
  25          Q.   What kind of work did he perform?

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   1          A.   Work that is not connected neither
   2    to Stuart nor to Beech.
   3          Q.   What kind of work did he perform?
   4          A.   Something in the medical field.
   5          Q.   Florida IP Telecom made numerous
   6    payments into this Bank of America account.
   7               What is Florida IP Telecom?
   8          A.   It is a client from South America.
   9    And the work was performed in South America.
  10          Q.   And it's a U.S. company located
  11    in Florida?
  12          A.   Apparently the payment came from
  13    an American company. The work was performed
  14    in South America for a South America customer.
  15          Q.   Did this work relate to Elliott
  16    Management in Argentina?
  17          A.   No.
  18          Q.   Mona Tours Ltd.
  19               What is Mona Tours?
  20          A.   Mona Tours. It's a travel agency.
  21          Q.   And there's significant payments
  22    to Mona Tours.
  23               What was that for?
  24          A.   For flights.
  25               MR. BEHRE: Say it again.

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   1               THE INTERPRETER: "For flights."
   2    BY MR. BEHRE:
   3          Q.   Okay. Overseas Consulting.
   4          A.   Where is it?
   5          Q.   (Partially translated.) If you
   6    go to page 244, you'll see it.
   7               Overseas Consulting Limited made
   8    a payment to you of $300,000 on March 23rd,
   9    2018.
  10               THE INTERPRETER: Two hundred
  11    or three hundred?
  12               MR. BEHRE: 300,000.
  13               (Remainder of pending question
  14          translated.)
  15               THE WITNESS: I don't remember.
  16    But this is not connected neither to Stuart
  17    nor to Beech.
  18    BY MR. BEHRE:
  19          Q.   Well, if you don't remember, how
  20    do you know it wasn't connected to Project
  21    Beech?
  22          A.   Because, in the Project Beech,
  23    I received money only from Stuart.
  24          Q.   And then, on page 248, Aviram
  25    Hawk Consultant, there's a payment you

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   1    made to him on April 26, 2018.
   2               And as we talked about yesterday,
   3    that's the account for Mr. Azari; right?
   4          A.   Correct. An account of Mr. Azari.
   5          Q.   I'm directing your attention to
   6    page 258, a $6,000 payment on June the 6th,
   7    2018, to Tey, T-e-y, Global Strategic.
   8               Do you know what that is for?
   9          A.   No. I don't remember.
  10          Q.   Were they a subcontractor on
  11    Project Beech?
  12          A.   I don't recognize it. I would
  13    have to go over the invoices. But I don't
  14    recognize it.
  15          Q.   (Not translated.) And then also
  16    on June the 6th, 2018, there's a $8,050
  17    payment to Bitachon Eintegrativi.
  18               Do you see that?
  19          A.   (Comment in Hebrew.)
  20               (In English.) Which page?
  21               (Pending question translated.)
  22               THE WITNESS: I don't remember.
  23    BY MR. BEHRE:
  24          Q.   (Partially translated.) And
  25    then, on page 268, there's another payment

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   1    for $352,740 to Primum Viridi Navitas.
   2          A.    (In English.) No.
   3                THE INTERPRETER: Say the number
   4    again. Sorry.
   5                THE WITNESS: (In English.) No.
   6                (Comment in Hebrew.)
   7                THE INTERPRETER: 3,052?
   8                MR. BEHRE: 352,740.
   9                THE INTERPRETER: 352,740.
  10                (Remainder of pending question
  11          translated.)
  12                THE WITNESS: "Kin."
  13                (Comment in Hebrew.)
  14                THE COURT REPORTER: I don't
  15    have the name.
  16                THE WITNESS: (In English.)
  17    Primum --
  18                THE INTERPRETER: "Kin."
  19                Navitas.
  20                THE WITNESS: (In English.)
  21    -- Viridi --
  22                THE INTERPRETER: (Comment in
  23    Hebrew.)
  24                MR. BEHRE: I'll read it.
  25                P-r-i-m-u-m, space, V-i-r-i-d-i,

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   1    space, Navitas, N-a-v-i-t-a-s.
   2               THE WITNESS: (In English.) I'm
   3    trying to Google it. Maybe --
   4               THE INTERPRETER: Primum Viridi
   5    Navitas.
   6    BY MR. BEHRE:
   7          Q.   Trying to Google it.
   8          A.   I don't remember what it is.
   9               It's maybe a company in Cyprus.
  10    But I have to check.
  11          Q.   Who is Brian Tulloch?
  12          A.   I have no clue.
  13          Q.   If you look at the -- at page
  14    25, which is the bank statement for May
  15    2019, you'll see there's two wires to him,
  16    one on May 6 for 64,000, one on May 14th
  17    for 75,000, and then a third on May 22nd
  18    for 42,000. It's Brian --
  19          A.   (Comment in Hebrew.)
  20               (In English.) Brian Tulloch.
  21               THE INTERPRETER: "Brian Tulloch,"
  22    he says.
  23               THE WITNESS: I don't remember.
  24    BY MR. BEHRE:
  25          Q.   Before the lunch break, we talked

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   1    about Global Impact Services and its owner,
   2    Eitan Arusy; correct?
   3          A.   Correct.
   4          Q.   And we talked about the fact
   5    that you were making payments to him.
   6               Do you remember that?
   7          A.   Yes.
   8          Q.   Did there come a time when he
   9    actually started making payments to you
  10    into this account?
  11          A.   It is possible. The -- the
  12    accounting between us was on a global
  13    level. So probably there were times
  14    when he had to make payments to me.
  15          Q.   For what reason would he be
  16    making payments to you?
  17          A.   I'd -- I have to go back to
  18    the documents to check. But sometimes
  19    I would make payments to him. Sometimes
  20    he would make payments to me. I would
  21    have to check that.
  22          Q.   And was that because you were
  23    doing work for him?
  24          A.   Sometimes we did jobs together.
  25    Some of the projects we carried out

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   1    together.
   2          Q.    If you look at page 109 and
   3    the entries on September 8th, 2020,
   4    and September 24th, 2020, you'll see
   5    two payments that he -- that that entity
   6    made to Insight's U.S. bank account. One
   7    entry is for $65,000. The other one's
   8    for 75,000.
   9          A.    As I've said before, sometimes
  10    Eitan would bring a client and I would
  11    provide services. And sometimes it was
  12    the other way around. Sometimes the
  13    payment would come from the client to
  14    me and then from me to Eitan. And
  15    sometimes the other way around.
  16                As far as these two specific
  17    entries are concerned, I do not recall.
  18          Q.    Okay. And I note that, in
  19    that month of September 2020, the only
  20    deposits into this account were from
  21    Global Impact Services; right?
  22          A.    Correct.
  23          Q.    And if you go to the next
  24    month, October 2020, page 117, you'll
  25    see the same thing, that the only deposit

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   1    made into the account for Insight in the
   2    U.S. was one for $70,000 sent by Global
   3    Impact Services.
   4               Do you see that?
   5          A.   Yes. I do see it.
   6          Q.   And if you go to page 123 in
   7    November 2020, you'll see yet another
   8    payment from Global Impact Services,
   9    this one for 71,000.
  10               Do you see that on November
  11    9th, 2020?
  12          A.   Yes, I see.
  13               At that time I believe that
  14    the Beech Project had already been
  15    completed. It was completed, I believe,
  16    on the -- in the beginning of 2020. And,
  17    hence, I do not see the connection between
  18    that and our investigation.
  19          Q.   Well, there's a deposit on
  20    November 2nd, 2020, that says it's
  21    coming from SDC-Gadot in your name;
  22    right?
  23               Do you see that, the -- the
  24    entry above that?
  25          A.   Of the 24 [sic]?

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   1          Q.    No. November 2nd, 2020.
   2          A.    Yes.
   3          Q.    And why is there money moving
   4    from the Gadot bank account in the United
   5    States and you're the person initiating
   6    the wire? Why is there movement going
   7    between the two U.S. entities when you
   8    said they both played the same role?
   9          A.    I imagine that the finance
  10    person -- the -- the person in charge
  11    of finances decided that funds should
  12    be concentrated in this particular account.
  13    I do not know a specific reason. But I
  14    imagine that we could find the opposite
  15    as well.
  16          Q.    When did you stop working with
  17    Stuart Page on the project?
  18          A.    When did you stop, you say?
  19          Q.    Stop. Yeah.
  20                When did your relationship --
  21    when did your relationship with Stuart
  22    Page end?
  23          A.    In this specific project, I
  24    believe that -- about May 2020. But we
  25    remained in contact until at least the

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   1    middle or the end of 19 -- '21.
   2          Q.   And why did your relationship
   3    with Stuart Page end regarding Project
   4    Beech in May 2020?
   5          A.   When his job was interrupted
   6    or terminated, then so was mine. It's
   7    not -- the relationship did not stop.
   8    The work stopped.
   9          Q.   Uh-huh.
  10               And once your relationship
  11    with Page ended, did Global Impact
  12    Services take over the role that Page
  13    played?
  14          A.   It's a bit of a confused question --
  15    confusing.
  16               (Comment in Hebrew.)
  17               MR. BARET: That's not the question
  18    he asked. Answer his question.
  19               THE WITNESS: (Comment in Hebrew.)
  20               MR. BEHRE: Can you translate
  21    that first, please?
  22               THE INTERPRETER: He said that:
  23    "The reason that the relations between
  24    Stuart and me stopped was because he
  25    insisted that I participate in his

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   1    legal fee -- legal -- legal expenses."
   2                THE WITNESS: Whether or not
   3    Global pursued the relations with him,
   4    I don't know.
   5    BY MR. BEHRE:
   6           Q.   Stuart Page asked you to help
   7    pay his legal bills?
   8           A.   Yes.
   9           Q.   What did he have legal bills for?
  10           A.   He said that he was being sued
  11    in many aspects, that it's very distressing
  12    to him. He said -- he said that he had
  13    tried twice to commit suicide. He said
  14    that he had had himself hospitalized once
  15    for a week and then for another week in
  16    home hospitalization and that his legal
  17    fees are killing him.
  18           Q.   And did he give you any reason
  19    why he thought that you should be helping
  20    pay his legal bills?
  21           A.   He said that he believed that
  22    I had made a lot of money from him and
  23    that, as a friend, I should be helping
  24    him.
  25           Q.   And did you -- how did you

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   1    respond to that request?
   2          A.    I told him that he was cheeky,
   3    impudent.
   4                MR. BARET: You know what is
   5    chutzpah? You know what's chutzpah?
   6                (Comment in Hebrew.)
   7                It's chutzpah.
   8    BY MR. BEHRE:
   9          Q.    Did Global Impact Services play
  10    a role similar to the role that Stuart
  11    Page played in Project Beech?
  12          A.    No.
  13          Q.    Did it play any role with regard
  14    to Project Beech?
  15          A.    They did -- they did play a role.
  16    Global was working vis-a-vis Stuart. But
  17    only Stuart was in contact with the client.
  18          Q.    (Not translated.) With the "client"
  19    being who?
  20          A.    (In English.) The boss.
  21                (Translated.) The boss.
  22          Q.    Yesterday you indicated that you
  23    thought the ruler was worried about being
  24    overthrown.
  25                Is that right?

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   1          A.   Correct.
   2          Q.   And how do you know that?
   3          A.   In some of Stuart's briefings
   4    to us, Stuart -- Stuart said that the
   5    ruler was suspecting that Khater Massaad
   6    was collaborating with one of his siblings,
   7    the siblings of the boss. And he feared
   8    that this was in the context of trying
   9    to topple him.
  10          Q.   And did you hear about this
  11    concern about being overthrown from Neil
  12    Gerard as well?
  13          A.   I do not recall. But I seem
  14    to remember I did hear that from Jaime.
  15          Q.   And are you aware that some of
  16    the individuals that the ruler wanted to
  17    target had been trying to bring to light
  18    human rights violations by the ruler and
  19    those working for him?
  20          A.   I don't remember such a thing.
  21          Q.   Now, you've testified over the
  22    last two days that Stuart Page hired you,
  23    in effect, to work on Project Beech; right?
  24          A.   Correct.
  25          Q.   Who hired Stuart Page to become

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   1    involved in Project Beech?
   2               Was it Neil Gerard?
   3          A.   According -- according to Stuart
   4    Page, the ruler himself had hired him. And
   5    in the first few months, he was reporting
   6    only to the ruler.
   7          Q.   And what -- what happened after
   8    the first few months in terms of who he
   9    reported to?
  10          A.   After a few months, I remember
  11    Jaime and Neil joining in the meetings.
  12               And to the instructions given to
  13    Stuart, in the beginning, he was reporting
  14    only to the ruler of RAK. He was traveling
  15    there and reporting to him. And after that,
  16    he was also reporting to Jaime and Neil.
  17          Q.   Okay. And who -- who paid Page
  18    for his work?
  19          A.   In the early years, he told us
  20    that he had received money directly from
  21    the palace, from the private accounts of
  22    the ruler. He said he had to -- he had
  23    to submit an invoice each time anew to the
  24    PA of the ruler and it only went through
  25    them. In the very last months, I remember

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   1    that the person who would authorize the
   2    invoices was Jaime.
   3          Q.   And who or what entity paid Page
   4    for the payments that -- that Buchanan
   5    authorized?
   6          A.   I don't know.
   7          Q.   Are you aware of any corporate
   8    entities that Jamie Buchanan had that
   9    he ran?
  10          A.   Do you mean companies that
  11    belonged to Jaime or companies that he
  12    managed for RAK?
  13          Q.   Both.
  14          A.   I think he was the -- Jaime was
  15    the CEO of Rakia. And I think he also --
  16    he said he also invoiced for his services.
  17    He was -- that he was a subcontractor, he
  18    told me.
  19          Q.   (Not translated.) Did Jaime have
  20    a company that was involved in balloon sales?
  21               THE INTERPRETER: Balloons like
  22    birthday party balloons or hot air balloons?
  23    Which one?
  24               MR. BEHRE: The first.
  25               THE INTERPRETER: The first.

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    1                (Pending question translated.)
    2                THE WITNESS: Not that I know of.
    3    BY MR. BEHRE:
    4           Q.   Yesterday you made some serious
    5    allegations about Nicholas Del Rosso.
    6                Do you recall that?
    7           A.   Everything I know about Nicholas
    8    Del Rosso comes from the legal proceedings
    9    that I think you are carrying out against
   10    him.
   11           Q.   What have you seen in those legal
   12    proceedings?
   13           A.   That he paid a sum of $1 million
   14    to an Indian company that was known for
   15    being a hacking company on the date of
   16    the hacking and that he -- and that he
   17    received money from Dechert.
   18           Q.   Do you know if those allegations
   19    are true to the best of your knowledge?
   20           A.   In retrospect, it seems to be
   21    right.
   22           Q.   And why do you say, in retrospect,
   23    it seems to be right?
   24           A.   Because at the time the leak
   25    suddenly occurred, we didn't understand

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    1    where it had come from or why. And from
    2    my familiarity with the charges against
    3    my friend Aviram, who was in jail in New
    4    York, it appears -- appears to be -- it
    5    seems to be a similar -- a similar M.O.
    6         Q.    And what's that M.O.?
    7         A.    That this company Beltox (phonetic)
    8    or some other Indian company is hired. They
    9    do the hacking. And they're paid for it.
   10         Q.    Now, Del Rosso had a company;
   11    right? It's called Vital Management?
   12         A.    I -- I don't know. I guess,
   13    if you say so.
   14         Q.    Did -- did Del Rosso write his
   15    own reports regarding Project Beech?
   16         A.    I don't know him. I don't know
   17    what he did. And I don't know what he
   18    wrote.
   19         Q.    Did you ever receive any reports
   20    that you thought were written by Del Rosso
   21    or his company?
   22         A.    I don't know. Possibly Stuart
   23    sent reports of that nature. But I don't
   24    recall.
   25         Q.    And if there were such reports,

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    1    Stuart would send them to you, and you'd
    2    consider them for inclusion in your own
    3    report; correct?
    4         A.    No. Stuart would send information
    5    sometimes and ask to have that information
    6    included in the report. And sometimes he
    7    would re-write the reports himself and add
    8    his own information. And I don't know what
    9    his sources were, if it was Del Rosso or
   10    somebody else.
   11               (Exhibit 6 marked.)
   12    BY MR. BEHRE:
   13         Q.    I'm showing you next what's been
   14    marked as Exhibit No. 6 in this deposition.
   15    It's entitled:
   16               "Project Beech - Financial
   17    Investigation Report #1."
   18               MR. BARET: Which one is it?
   19               MR. BEHRE: No. 6.
   20               MR. BARET: Do you have a copy
   21    for me?
   22               MR. BEHRE: He will when he gets
   23    back. I believe he went to make a copy.
   24               MR. BARET: Okay.
   25               THE WITNESS: (Examining.)

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    1    BY MR. BEHRE:
    2         Q.    (Not translated.) Have you had
    3    a chance to look at that report?
    4         A.    (In English.) Yes.
    5         Q.    (Not translated.) I direct your
    6    attention to the first paragraph. And it
    7    says, quote:
    8               "The following report focuses
    9    on the findings regarding KM's bank
   10    accounts as appeared in 'Vital Management
   11    Services' (hereinafter: 'VMS') report
   12    dated 12.11.2014."
   13               Do you see that?
   14         A.    "Kin."
   15               (In English.) Yes.
   16         Q.    And that would suggest that
   17    there was a report prepared by Del
   18    Rosso and his company, Vital Management,
   19    concerning financial issues; right?
   20         A.    Based on what I'm reading
   21    here, yes.
   22         Q.    Were you involved in the
   23    preparation of this report?
   24         A.    No.
   25         Q.    You're certain you weren't

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    1    involved in preparing this report at
    2    all?
    3           A.   Since I didn't keep any of
    4    the documents related to this case, I
    5    don't know. I can't find out if this
    6    report is based on a report I wrote
    7    or whether Stuart wrote it or whether
    8    Stuart amended it.
    9           Q.   So you don't recall one way
   10    or the other whether you were involved
   11    in preparing this report?
   12           A.   I do not remember.
   13           Q.   You would agree, wouldn't you,
   14    that it appears to contain confidential
   15    financial information to which the author
   16    would not have a right to; correct?
   17           A.   I'm not sure. It could be human
   18    intelligence sources that provided this
   19    information. I don't know. It could be
   20    fake.
   21           Q.   If you look at page 8, it contains
   22    very specific financial information about
   23    Khater Massaad, doesn't it?
   24           A.   Yes.
   25           Q.   And those -- the precision

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    1    of those numbers suggest it's highly
    2    unlikely that a human source would be
    3    able to provide those numbers without
    4    the aid of a bank record; right?
    5         A.    Unless this human source was
    6    privy to the bank records.
    7         Q.    Yesterday you said that Nick
    8    Del Rosso was working on Project Beech
    9    but he was working in parallel to you
   10    but on different issues.
   11               Do you recall that testimony?
   12         A.    Yes, I recall. I -- I think
   13    he -- he might have worked for the same
   14    client. But I'm not sure it should be
   15    called Project Beech. Project Beech
   16    was a name that Stuart made up.
   17         Q.    Putting aside what the name
   18    of the project was, you indicated that
   19    you thought Nick Del Rosso was working
   20    in parallel but on different issues.
   21               What did you mean by that?
   22         A.    At first, we knew that Nick
   23    was involved. But I don't know if --
   24    how Stuart knew, if he knew it from the
   25    boss or other sources. And there were

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    1    certain aspects in the case where we were
    2    told: You don't have to investigate this.
    3    It's being taken care of.
    4         Q.    And what were those other aspects
    5    that were being taken care of by others?
    6         A.    One was Farhad Azima. And there
    7    was another family I recall named Rothman.
    8               THE INTERPRETER: Rothman?
    9               THE WITNESS: Rothman.
   10               THE INTERPRETER: Rothman.
   11               THE WITNESS: (Comment in Hebrew.)
   12               THE INTERPRETER: Rothman.
   13               R-o-t-m-a-n or R-o-t-h-m-a-n.
   14    BY MR. BEHRE:
   15         Q.    And what about Farhad Azima was
   16    being taken care of by others?
   17         A.    They didn't tell us Farhad Azima
   18    was being taken care of by somebody else.
   19               At first -- they didn't tell us:
   20    You don't have to investigate Farhad Azima.
   21               But, at first, they told us that
   22    he was serving as some kind of mediator
   23    between RAK and Khater Massaad. And then
   24    the trial started with this mutual accusations
   25    and it wasn't necessary.

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    1         Q.    And who was this individual Rothman
    2    that you mentioned?
    3         A.    During the investigation, a suspicion
    4    came up regarding some kind of arms deal that
    5    involved the Rothman family, some kind of --
    6    they were accused of some kind of fictitious
    7    deal. And as part of the findings of the
    8    investigation, this is something I recall.
    9    We were told not to touch it.
   10         Q.    And is that because somebody else
   11    was going to touch it or just to stay out
   12    of it entirely?
   13         A.    The initial question was: What
   14    do I think Nick Del Rosso did?
   15               At that time, I did not think there
   16    was anybody else doing any investigating.
   17               Based on the findings in the court,
   18    today I do believe that Nick Del Rosso was
   19    investigating.
   20         Q.    Was investigating what?
   21         A.    I think he was investigating all
   22    the matters dealing with Farhad Azima.
   23         Q.    Why was Stuart Page so upset that
   24    Nick Del Rosso was brought in to provide
   25    assistance with regard to the -- what you

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    1    called Project Beech?
    2         A.    I think Stuart Page has a big
    3    ego. And if to base myself on what you
    4    said yesterday, he was mad that he was
    5    taking away business from him.
    6         Q.    Do you know who worked with
    7    Nick Del Rosso?
    8         A.    No.
    9         Q.    Do you know if he had any
   10    employees?
   11         A.    No. I don't know him. I've --
   12    I've never seen him. I don't know him
   13    at all.
   14         Q.    Did there come a time, to the
   15    best of your knowledge, that Nick Del
   16    Rosso's work for the boss either was
   17    suspended or ended?
   18         A.    I think -- I think that, at
   19    the time that our work was terminated,
   20    Stuart said that that work was also
   21    terminated. But I -- I don't really
   22    know.
   23         Q.    How would you describe the
   24    role of Neil Gerard in Project Beech?
   25         A.    "Rega."

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    1                (In English.) Wait. It cut
    2    off.
    3                (Brief technical interruption
    4           in the proceedings.)
    5    BY MR. BEHRE:
    6           Q.   (Not translated.) You can go
    7    ahead. Yeah.
    8           A.   I think he was like the quarterback.
    9    He was a very close advisor to the boss. I
   10    think his decisions were very impactful.
   11           Q.   And who reported to him regarding
   12    Project Beech issues?
   13           A.   Based on what Stuart told me and
   14    what I remember, there were subjects that
   15    Jaime and Stuart said to consult with Neil.
   16                THE INTERPRETER: With Neil?
   17                THE WITNESS: (Comment in Hebrew.)
   18                THE INTERPRETER: (Comment in
   19    Hebrew.)
   20    BY MR. BEHRE:
   21           Q.   What was David Hughes' role in
   22    Project Beech?
   23           A.   In my -- in my recollection, I --
   24    I saw David Hughes twice. And my feeling
   25    is that he was some kind of assistant for

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    1    Neil.
    2         Q.    Did it appear to you that he was
    3    subservient to Neil Gerard?
    4         A.    I wouldn't call it subservient.
    5    Subordinate. He was a subordinate of --
    6    of him, like you and you. (Indicating.)
    7               MR. BARET: He's actually the
    8    boss. He's just --
    9               MR. BEHRE: Yeah. You just --
   10               MR. BARET: -- mentoring --
   11               MR. BEHRE: -- didn't know it.
   12               MR. BARET: -- his work. He's --
   13    just make sure --
   14               THE INTERPRETER: The ruler.
   15               MR. BARET: -- he's doing his
   16    job right. That's it.
   17    BY MR. BEHRE:
   18         Q.    What about Andrew Frank, what was
   19    his role in Project Beech?
   20         A.    I never met and never knew Andrew
   21    Frank. I heard that he was responsible for
   22    the PR.
   23         Q.    And what PR are you talking about?
   24         A.    There was somebody in charge of PR.
   25    He was in charge of PR. I -- I did my part

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    1    of the project. I don't know what the other
    2    people did.
    3                MR. BEHRE: Could you just try
    4    and unmute that or maybe you could help
    5    him?
    6                THE VIDEOGRAPHER: Off the record
    7    at 4:06.
    8                (Recess from 4:06 p.m. to 4:07 p.m.
    9           Israel Daylight Time.)
   10                THE VIDEOGRAPHER: Back on the
   11    record at 4:07.
   12    BY MR. BEHRE:
   13           Q.   Okay. We're talking about the
   14    PR effort that Andrew Frank was apparently
   15    making.
   16           A.   Is there a question?
   17           Q.   No. I'm just trying to start
   18    back up where we were.
   19                Did that PR include some of the
   20    negative press that came out about Farhad
   21    Azima?
   22           A.   I don't know. I never had a
   23    meeting or was present at a meeting with
   24    Andrew Frank.
   25           Q.   (Not translated.) And what about

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    1    Amir Handjani, who worked with Andrew Frank
    2    at Karv, what was his role in Project Beech,
    3    if you know?
    4               THE INTERPRETER: I'm sorry. I
    5    didn't catch --
    6               MR. BEHRE: "If you know."
    7               THE INTERPRETER: "If you know."
    8               (Pending question translated.)
    9               THE WITNESS: I never met Andrew --
   10    Amir Handjani either. And towards the end
   11    of our engagement, Stuart presented him
   12    as a close associate or close -- somebody
   13    close to the boss, consultant -- close
   14    advisor of the boss.
   15    BY MR. BEHRE:
   16         Q.    Have you ever heard the name
   17    Brandon Neuman before?
   18         A.    No.
   19         Q.    (Partially translated.) Have
   20    you ever heard the name Chris Swecker
   21    before?
   22         A.    No.
   23         Q.    (Partially translated.) Have
   24    you ever heard the name Linda Goldstein
   25    before?

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    1         A.     No.
    2         Q.     Yesterday you said that there
    3    were approximately ten meetings that you
    4    attended with Neil Gerard.
    5                And you said that one or two of
    6    them were at the Dechert offices in London,
    7    one or two of them were at the Metropolitan
    8    Hotel where you were staying at the time,
    9    and there were another ten times or so
   10    when you met with him.
   11                Do you recall that testimony?
   12         A.     (Translated.) I recall that
   13    I said that we had a total of about ten
   14    meetings.
   15                Yes, we met at Dechert once
   16    or twice, in Cyprus, in Switzerland with
   17    Stuart, at the Metropolitan --
   18                (In English.) To Stuart's office.
   19                (Translated.) -- at that club --
   20                THE INTERPRETER: Sorry?
   21                THE WITNESS: (Translated.)
   22    -- at Stuart's --
   23                (In English.) Office.
   24                (Translated.) -- office, at
   25    the Metropolitan, at that club with Jaime.

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    1    Might have been a little more than ten.
    2    BY MR. BEHRE:
    3         Q.    And you mentioned meetings or
    4    a meeting at Page's offices.
    5               Where were they located?
    6         A.    (Comment in Hebrew.)
    7               THE INTERPRETER: You asked about?
    8               MR. BARET: Stuart's office.
    9               THE WITNESS: (In English.) Stuart
   10    office.
   11               THE INTERPRETER: Page's office.
   12    I'm sorry.
   13               THE WITNESS: (In English.) Page
   14    office.
   15               THE INTERPRETER: Yeah.
   16               THE WITNESS: I think -- I think
   17    it was somewhere near the -- near Buckingham
   18    Palace, near the Taj Hotel. That's where
   19    I was staying. That's where the -- the
   20    offices were at that time.
   21               He used to switch offices every
   22    year. Each time he tried to find something
   23    cheaper. In the end, he ended up near some
   24    church somewhere, some corner.
   25               THE INTERPRETER: "In some church."

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    1    BY MR. BEHRE:
    2         Q.    (Partially translated.) Did there
    3    come a time in 2019 when there was a great
    4    deal of interest by the boss in Neil Gerard
    5    and others about who was funding both the
    6    Azima litigation and the torture litigation
    7    brought by victims of torture at the hands
    8    of RAK?
    9               THE COURT REPORTER: Say the end.
   10    I'm sorry. Torture litigation?
   11               THE INTERPRETER: "Tort" or "torture"?
   12               MR. BEHRE: Involving those tortured --
   13               THE INTERPRETER: "Torture."
   14               MR. BEHRE: -- at the hands of RAK.
   15               (Pending question fully translated.)
   16               THE WITNESS: Since the meeting
   17    with Alex Ibragimov and Dimitri, who
   18    represented himself as -- as representing
   19    Alpha but really represented -- he worked
   20    in a place called Alpha Group. But he was
   21    actually running or managing the entire
   22    strategic file of ENRC.
   23               And since that, it was -- the
   24    prevalent opinion among us was that it
   25    was ENRC that was behind the funding of

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    1    all that litigation that you mentioned.
    2                Regarding the torture litigation,
    3    I don't know anything at all about that.
    4    BY MR. BEHRE:
    5         Q.     So the comments you just made
    6    concern the Azima litigation; right?
    7         A.     Yes. The Azima case.
    8                I imagine that you're relating
    9    to the torture that came up as a subject
   10    in the trial of Karam Sadaq?
   11         Q.     Yes.
   12         A.     So on that litigation, we learned
   13    from the meeting held by Stuart with Paul
   14    Robinson.
   15         Q.     Is it true that Neil Gerard became
   16    very interested, as -- as did the boss, in
   17    finding out who was funding this litigation?
   18    And, therefore, he asked Stuart Page to
   19    find out who was funding it?
   20         A.     My -- my feeling is that Stuart
   21    was deeply offended that he was not entrusted
   22    with that investigation and he had heard
   23    about it because he was a personal friend
   24    of Paul Robinson's father.
   25                And I believe he was extremely

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    1    angry at Neil for not entrusting him with
    2    that investigation. I don't think he ever
    3    investigated it. And at this stage, they
    4    had asked -- by that time, they had asked
    5    Stuart to stop contacting them.
    6         Q.    Are you aware that Stuart Page
    7    met with Neil Gerard and Amir Handjani
    8    at the Royal Automotive Club in London
    9    about this very issue, who was funding
   10    the litigation?
   11         A.    No.
   12               When was it?
   13         Q.    During the Azima litigation.
   14         A.    No, I did not know that this
   15    subject was debated.
   16         Q.    Did you prepare any report
   17    regarding who was funding that litigation?
   18         A.    Not that I recall.
   19         Q.    Did you perform any surveillance
   20    in Dubai on behalf of anyone for Project
   21    Beech?
   22         A.    No.
   23         Q.    Have you ever been to RAK?
   24         A.    No.
   25               The first time I flew to Dubai

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    1    was after the project had ended.
    2          Q.   (Not translated.) Were you
    3    involved in surveillance that was conducted
    4    on the Stokoe legal team in the U.K.?
    5          A.   (Comment in Hebrew.)
    6               THE INTERPRETER: Stoke legal
    7    team?
    8               MR. BEHRE: S-t-o-k-o-e. Stokoe.
    9               THE INTERPRETER: Okay.
   10               (Pending question translated.)
   11               THE WITNESS: No.
   12    BY MR. BEHRE:
   13          Q.   Do you know who Radha Stirling
   14    is?
   15          A.   No.
   16               (Comment in Hebrew.)
   17               THE INTERPRETER: "What is the
   18    name again," he asked.
   19    BY MR. BEHRE:
   20          Q.   Radha Stirling.
   21          A.   No.
   22          Q.   Earlier we talked about an entity
   23    called Insight GSIA Limited, which is a BVI
   24    corporation.
   25               Do you remember that discussion?

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    1         A.    Yes.
    2         Q.    And at that time -- maybe I got
    3    it wrong -- you indicated you -- you didn't
    4    know anything about this entity; is that
    5    right?
    6         A.    No. I did not say that.
    7         Q.    I'm sorry.
    8               Are you familiar with that entity?
    9         A.    Yes. I did say that this was a
   10    company owned by Effi Lavie.
   11         Q.    And you had no interest in it?
   12         A.    No.
   13         Q.    And are you aware that Insight
   14    GSIA Limited provided Project Beech
   15    assistance to Stuart Page?
   16         A.    It's possible, yes.
   17         Q.    Are you familiar with a company
   18    called Sublime Solutions Innovations and
   19    Trade?
   20         A.    Not that I recall. No.
   21         Q.    Would it surprise you that they
   22    provided Project Beech services to Stuart
   23    Page?
   24         A.    As I've said before, Stuart Page
   25    utilized numerous subcontractors and also

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    1    provided services that do not relate to
    2    my work.
    3         Q.     Did your Insight entity ever
    4    have a website?
    5         A.     I don't think so.
    6         Q.     Did anybody make efforts to
    7    scrub any mention of Insight from the
    8    Internet?
    9         A.     I have no clue.
   10         Q.     Have you ever attempted to
   11    reduce the profile of any entity you're
   12    involved in by attempting to manipulate
   13    the Internet so that searches for those
   14    companies would not be so fruitful?
   15         A.     No.
   16                But I don't possess a website
   17    for my companies. So there's nothing
   18    to reduce or remove.
   19                MR. BEHRE: I think Ian has
   20    gone out to get copies of the records
   21    that you brought. So we'll just need
   22    to take a couple-minute break until he
   23    comes back. We're getting close to done.
   24    So ...
   25                THE VIDEOGRAPHER: Going off the

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    1    record at 4:25.
    2               (Recess from 4:25 p.m. to 4:40 p.m.
    3         Israel Daylight Time.)
    4               THE VIDEOGRAPHER: Going on record
    5    at 4:40.
    6               (Exhibit 7 marked.)
    7    BY MR. BEHRE:
    8         Q.    I'd like to next show you
    9    Exhibit 2, which is the set of Insight
   10    Analysis and Research LLC invoices you
   11    brought to your deposition today. And
   12    I'd also like to give you another exhibit
   13    we're marking as Exhibit 7, which is a --
   14    another packet of Insight Analysis and
   15    Research LLC invoices as well.
   16               And I want to direct your
   17    attention to Invoice 1036 in both packets.
   18    Okay? So just get 1036 in the version
   19    you brought and 1036 in the version of
   20    the other exhibit.
   21               Do you have both of those
   22    exhibits opened to Invoice 1036?
   23         A.    (Examining.) Yes.
   24         Q.    And while they're both labeled
   25    Invoice 1036, they appear to be different

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    1    in that they -- each one has a different
    2    logo. So they're not identical copies.
    3               Do you see that?
    4         A.    Yes.
    5         Q.    Can you explain why that is?
    6         A.    No.
    7         Q.    Was there ever a case where
    8    invoices were re-written or edited after
    9    they were issued?
   10         A.    There were cases where Stuart
   11    delayed payment or he asked us to re-send
   12    an invoice and we may have used a different
   13    software. But I see that the amount is the
   14    same in both of them. So I don't see that
   15    there's any problem in this.
   16         Q.    Okay. Would you do the same thing
   17    with Invoice No. 1038.
   18               Do you have that in front of you,
   19    1038?
   20         A.    (In English.) Yes.
   21               (Translated.) Yes.
   22         Q.    Now, it appears that there's a --
   23    in the set you brought today, there's an
   24    additional invoice labeled 1038. And then,
   25    in handwriting, an "A" is placed after it

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    1    and it's for a different amount than 1038.
    2               Do you see that?
    3         A.    That's right. 1038A is for the
    4    same amount. And 1038 is for a different
    5    amount.
    6         Q.    Correct.
    7               And can you explain why there's
    8    a one oh -- 1038 and a 1038A?
    9         A.    I'm trying to look at the deposit
   10    of the money. I think I must have given
   11    them another invoice that Stuart didn't
   12    issue, wherever they got it from. Because
   13    I see a payment of $250,000 for the invoice.
   14    I think mine is more precise because there's
   15    a deposit of 250,000 and a deposit of 300,000 --
   16         Q.    So --
   17         A.    -- one in August and one in July.
   18         Q.    So both were paid?
   19         A.    Based on what I see here in the
   20    Bank of America, yes.
   21         Q.    (Partially translated.) Okay.
   22    Yesterday you said you were going to obtain
   23    and give us a copy of your travel records
   24    that you got from the Israeli agency that
   25    provides that.

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    1                Did you do that?
    2                THE INTERPRETER: From the --
    3                THE WITNESS: (Comment in Hebrew.)
    4                THE INTERPRETER: -- Israeli agency.
    5                (Comment in Hebrew.)
    6                THE WITNESS: (Comment in Hebrew.)
    7                THE INTERPRETER: You mean the
    8    Ministry?
    9                MR. BEHRE: Yes.
   10                (Remainder of pending question
   11         translated.)
   12                THE WITNESS: I put in a request.
   13    And as soon as it comes, I will send it
   14    to you.
   15    BY MR. BEHRE:
   16         Q.     Okay. And you also said you'd
   17    look at your WhatsApp for more communications
   18    with Stuart Page; right?
   19         A.     I scanned through my phone. I
   20    couldn't find any. But I may have it on
   21    other phones. So I'll look.
   22         Q.     How many phones do you have?
   23         A.     I have one phone. But I replace
   24    it every year. And when you replace it,
   25    I -- when I replace it, I don't back up

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    1    the WhatsApps.
    2           Q.   How did you communicate with
    3    Neil Gerard?
    4           A.   Via Stuart.
    5           Q.   Did you ever text him or e-mail
    6    him?
    7           A.   No.
    8           Q.   Did you ever use WhatsApp or
    9    a -- or a method like that to communicate
   10    with him?
   11           A.   No.
   12           Q.   What about Jamie Buchanan, how
   13    did you communicate with him?
   14           A.   With Signal. It's an application
   15    called Signal.
   16           Q.   Any other way?
   17           A.   Not with Jaime. I don't think
   18    so.
   19           Q.   Did you use Signal for other
   20    communications involving Project Beech?
   21           A.   I -- I would assume that I did.
   22           Q.   With who?
   23           A.   With Stuart. With employees
   24    from my firm sometimes.
   25           Q.   What other apps do you use to

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    1    communicate?
    2         A.    We once used Silent Circle and
    3    Wire. Today we use a phone that we have
    4    developed for ourselves.
    5         Q.    And would you also please look
    6    at your Signal communications with Jamie
    7    Buchanan and, if they concern Project
    8    Beech, provide them to us?
    9         A.    There's nothing there. It's
   10    programmed to disappear after one week.
   11         Q.    Let me ask you to take out
   12    Exhibit No. 6 again. It's the project
   13    update we looked at previously.
   14         A.    "Kin."
   15         Q.    I know that you said you didn't
   16    recognize that report.
   17               But is that in the format that
   18    your reports were done regarding Project
   19    Beech? So in other words, the -- the
   20    pagination or the font or the lettering,
   21    that type of thing, does it look like
   22    it's in a similar style as the reports
   23    you did create?
   24         A.    Yes.
   25         Q.    And what is it that's -- that

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    1    looks familiar?
    2           A.   The way the report is set up.
    3           Q.   Who besides Stuart Page received
    4    your reports?
    5           A.   To the best of my knowledge,
    6    Stuart Page. Maybe other people in his
    7    firm got it, that helped him.
    8           Q.   Do you know who he distributed
    9    the reports to?
   10           A.   No.
   11           Q.   Did you ever discuss that with
   12    him?
   13           A.   He sometimes mentioned that he
   14    passed it on to Neil or to Jaime. But
   15    it never was a subject that was discussed.
   16           Q.   Okay. Did you ever get any
   17    feedback from Jamie Buchanan or Neil
   18    Gerard that made you think they'd
   19    actually read your reports?
   20           A.   At the meetings that I was
   21    present together with them, I -- I could
   22    understand that they had read the reports.
   23           Q.   Because the reports contained
   24    information that became the basis for
   25    discussion at the meetings; right?

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    1         A.    Yes. But they're also subjects
    2    that they raised.
    3         Q.    Did you ever attend any meetings
    4    in the U.S. about Project Beech?
    5         A.    Other than the meeting with Jaime
    6    that I described earlier, I don't recall
    7    any others.
    8               MR. BEHRE: We need a two-minute
    9    break. Sorry.
   10               THE VIDEOGRAPHER: Going off the
   11    record at 4:56.
   12               (Recess from 4:56 p.m. to 5:00 p.m.
   13         Israel Daylight Time.)
   14               THE VIDEOGRAPHER: Back on record
   15    at 5:00 o'clock.
   16    BY MR. BEHRE:
   17         Q.    Mr. Forlit, were you involved
   18    in any investigation of Karam Al Sadeq?
   19         A.    No.
   20         Q.    Dima Al Sadeq?
   21               THE COURT REPORTER: "Dima"
   22    or "Dena"?
   23               MR. BEHRE: Dima.
   24               THE INTERPRETER: Dima.
   25               THE WITNESS: No.

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    1    BY MR. BEHRE:
    2         Q.    Jihad Quzmar?
    3         A.    No.
    4         Q.    Did you do, prior to 2015, any
    5    other work regarding any other RAK-related
    6    matters besides Project Beech?
    7         A.    In 2008, I worked for Rafi, who
    8    was working for Stuart concerning some
    9    aspects related to the case.
   10         Q.    Did that involve Sheikh Khaled?
   11         A.    "Kin."
   12               THE INTERPRETER: "Khaled"?
   13               THE WITNESS: "Khaled."
   14               MR. BEHRE: "Khaled."
   15               THE INTERPRETER: "Yes."
   16    BY MR. BEHRE:
   17         Q.    What about Sheikh Faisal?
   18         A.    I don't recall.
   19               THE INTERPRETER: "I don't
   20    remember that."
   21               Sorry.
   22    BY MR. BEHRE:
   23         Q.    And did that involve the -- the
   24    potential overthrow of the Sheikh, of the --
   25    of the ruler?

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    1         A.    No. There was -- there was no
    2    potential overthrow at that time. There
    3    were two princes fighting over who was
    4    going to be the king. There wasn't any
    5    overthrow.
    6               MR. BEHRE: Okay. I have no
    7    further questions. Thank you.
    8               THE VIDEOGRAPHER: That concludes
    9    the deposition of Amit Forlit at 5:03.
   10               (Brief pause in the proceedings.)
   11               THE VIDEOGRAPHER: Back on record
   12    at 5:03.
   13
   14                           EXAMINATION
   15    BY MR. BARET:
   16         Q.    Amit, were you ever asked to
   17    investigate Farhad Azima?
   18         A.    No.
   19         Q.    Did you ever author or somebody
   20    under you author any reports regarding
   21    Farhad Azima?
   22         A.    No.
   23         Q.    After you provided the report
   24    to Stuart, did you have any control over
   25    what was added to the report?

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    1         A.    No.
    2         Q.    Before Stuart provided a report
    3    or -- or forwarded it to the client, did
    4    he ever share with you the final version
    5    of the report that was produced to the
    6    client?
    7         A.    No.
    8               MR. BARET: No further questions.
    9               THE VIDEOGRAPHER: That concludes
   10    the deposition of Amit Forlit at 5:05.
   11               (The deposition concluded at 5:05 p.m.
   12         Israel Daylight Time.)
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    1                    CERTIFICATE OF REPORTER
    2
    3               I, BRENDA MATZOV, CSR NO. 9243, do
    4    hereby certify:
    5               That, prior to being examined, the
    6    witness named in the foregoing deposition was
    7    asked to acknowledge that their testimony will
    8    be true under the penalties of perjury and will
    9    be the truth, the whole truth, and nothing but
   10    the truth.
   11               That the foregoing deposition was taken
   12    before me, at which time the aforesaid proceedings
   13    were stenographically recorded by me and thereafter
   14    transcribed by me;
   15               That the foregoing transcript, as typed,
   16    is a true record of the said proceedings;
   17               And I further certify that I am not
   18    interested in the action.
   19
   20               Dated this 30th day of July, 2022.
   21
   22               _________________________________________
                    BRENDA MATZOV, CSR NO. 9243
   23
   24
   25

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    1                     CERTIFICATE OF WITNESS
    2
    3               I, AMIT FORLIT, witness herein, do
    4    hereby certify and declare the within and
    5    foregoing transcription to be my examination
    6    under oath in said action taken on July 21,
    7    2022, with the exception of the changes
    8    listed on the errata sheet, if any;
    9               That I have read, corrected, and
   10    do hereby affix my signature under penalty
   11    of perjury to said examination under oath.
   12
   13
   14
   15
   16    ____________________________________         _____________
                 AMIT FORLIT, Witness                      Date
   17
   18
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    1                           ERRATA SHEET
    2    Case:      FARHAD AZIMA vs. INSIGHT ANALYSIS AND
    3               RESEARCH LLC AND SDC-GADOT LLC
    4    Date:      JULY 21, 2022
    5    Witness: AMIT FORLIT
    6
    7    Page _____ Line _____ Change _______________________
    8    Reason _____________________________________________
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   22    Reason _____________________________________________
   23
         ____________________________________         _____________
   24            AMIT FORLIT, Witness                      Date
   25

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